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14

15
                          UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                               )
        DANIELLE GAMINO,                         )
18                                               )
                    Plaintiff,                   )   No. 5:20-cv-01126-SB-SHK
19                                               )
              v.                                 )   DEFENDANT ALERUS
20                                               )   FINANCIAL, N.A.’S ANSWER
        KPC Healthcare Holdings, Inc., et al.,   )   TO PLAINTIFF’S FIRST
21                                               )   AMENDED COMPLAINT
                    Defendants.                  )
22                                               )
                                                 )
23                                               )
                                                 )
24                                               )
25           Defendant Alerus Financial, N.A. (“Alerus”), by and through the
26     undersigned counsel, answers the claims in the First Amended Complaint filed by
27     Plaintiff Danielle Gamino on August 13, 2021 (Dkt. No. 179), as follows:
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 1
28     AMENDED COMPLAINT
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 1
       I.     JURISDICTION AND VENUE
 2
              1.      Plaintiff brings this action under the Employee Retirement Income
 3
       Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq. This Court has subject
 4
       matter jurisdiction over this action pursuant to ERISA § 502(e)(2), 29 U.S.C. §
 5
       1132(e)(2) because this action arises under the laws of the United States and
 6
       pursuant to 29 U.S.C. § 1132(e)(1).
 7
              ANSWER: Alerus admits that Plaintiff purports to bring this action under
 8
       certain sections of the Employee Retirement Income Security Act of 1974, as
 9
       amended (“ERISA”). The allegations in the second sentence of paragraph 1 state a
10
       legal conclusion, to which no response is required. To the extent a response is
11
       required, Alerus denies the allegations in the second sentence of paragraph 1.
12
              2.      Venue is proper in this District pursuant to ERISA § 502(e)(2), 29
13
       U.S.C. § 1132(e)(2), because the breaches and violations giving rise to the claims
14
       occurred in this District, and one or more of the Defendants may be found in this
15
       District.
16
              ANSWER: Paragraph 2 states legal conclusions, to which no response is
17
       required. To the extent a response is required, Alerus denies any breach or
18
       violations occurred. Alerus lacks knowledge or information sufficient to form a
19
       belief as to which Defendant(s) Plaintiff alleges “may be found in this District” and
20
       therefore denies this allegation. Alerus denies the remaining allegations in
21
       paragraph 2.
22
       II.    INTRODUCTION
23
              3.      This ERISA action is brought on behalf of a Class of participants in
24
       and beneficiaries of the KPC Healthcare, Inc. Employee Stock Ownership Plan
25
       (“the KPC ESOP,” “the ESOP” or “the Plan”) to restore losses to the Plan,
26
       disgorge any profits, and to obtain other remedies arising out of Defendants’
27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 2
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 3 of 94 Page ID #:4291



 1
       breaches of fiduciary duties and other violations of ERISA. These claims arise out
 2
       of a transaction that took place on August 28, 2015 (the “2015 ESOP
 3
       Transaction”), through which Defendant Kali Pradip Chaudhuri sold 100% of the
 4
       stock of KPC Healthcare Holdings, Inc. to the ESOP. This transaction was not
 5
       designed to be in the best interests of the ESOP participants and caused the ESOP
 6
       to pay in excess of fair market value. Indeed, the ESOP paid a price more than
 7
       400% greater than the price that Kali Pradip Chaudhuri had been willing to pay for
 8
       and at which he likely acquired the company just two years earlier—even before
 9
       taking into account any other consideration that Dr. Chaudhuri received as part of
10
       the 2015 ESOP Transaction.
11
             ANSWER: Paragraph 3 states legal arguments and conclusions, to which
12
       no response is required. To the extent a response is required, Alerus admits that
13
       Plaintiff filed the First Amended Complaint, but Alerus relies on the First
14
       Amended Complaint to speak for itself, rather than on Plaintiff’s characterization
15
       thereof. Alerus otherwise denies the allegations in paragraph 3.
16
             4.     In addition, the ESOP Committee, which serves as the Plan
17
       Administrator, has not provided disclosures required by ERISA. Prior to filing this
18
       lawsuit, Plaintiff sought to obtain a copy of the valuation/appraisal report that set
19
       the price which the ESOP paid for the shares and the valuation/appraisal report that
20
       determined the value of her benefits, but the Plan Administrator refused to provide
21
       copies of those reports.
22
             ANSWER: Paragraph 4 states legal arguments and conclusions, to which
23
       no response is required. To the extent a response is required, Alerus lacks
24
       knowledge or information sufficient to form a belief as to the truth of the
25
       allegations in paragraph 4, and therefore denies them.
26

27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 3
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 4 of 94 Page ID #:4292



 1
              5.    Through this action, Plaintiff seeks to enforce her rights and those of
 2
       other participants in the Plan under ERISA, to recover the losses incurred by the
 3
       Plan as a result of Defendants’ breaches of fiduciary duty or other violations of
 4
       ERISA, and to ensure that the Plan and its assets have been properly administered.
 5
       Among the relief sought for these breaches and violations, Plaintiff requests that
 6
       the breaching fiduciaries be ordered to pay the losses to the Plan, to disgorge any
 7
       profits, that the Court order other remedial and equitable relief and that any monies
 8
       recovered for the Plan be allocated to the accounts of the Class.
 9
              ANSWER: Paragraph 5 states legal arguments and conclusions, to which
10
       no response is required. To the extent a response is required, Alerus admits that
11
       Plaintiff filed the First Amended Complaint, but Alerus relies on the First
12
       Amended Complaint to speak for itself, rather than on Plaintiff’s characterization
13
       thereof. Alerus otherwise denies the allegations in paragraph 5.
14
       III.   INTRA-DISTRICT ASSIGNMENT
15
              6.    Plaintiff resides in the State of Georgia.
16
              ANSWER: Alerus lacks knowledge or information sufficient to form a
17
       belief as to the truth of the allegations in paragraph 6, and therefore denies them.
18
              7.    Based on Plaintiff’s counsel’s investigation, all but one of defendants
19
       who reside in the District reside in the Eastern Division of the Central District of
20
       California (and the other defendant resides in the Southern Division). Defendant
21
       Alerus Financial, N.A. is located outside the State of California.
22
              ANSWER: Alerus lacks knowledge or information sufficient to form a
23
       belief as to what “Plaintiff’s counsel’s investigation” refers to and therefore denies
24
       the allegations in the first sentence of paragraph 7. Alerus admits that it is located
25
       outside the State of California.
26

27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 4
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 5 of 94 Page ID #:4293



 1
             8.     The alleged breaches took place in the Eastern Division of the Central
 2
       District of California.
 3
             ANSWER: Alerus denies the allegations in paragraph 8.
 4
       IV.   PARTIES Plaintiff
 5
             9.     Plaintiff Danielle Gamino is a former employee of KPC. Plaintiff
 6
       Gamino was employed as a medical coder by KPC from May 29, 2008 through
 7
       December 17, 2016, first at Costal Communities Hospital (now known as South
 8
       Coast Global Medical Center) and then at the Orange County Global Medical
 9
       Center, both in Santa Ana, California. As a result of her employment, Plaintiff
10
       Gamino became and is a participant, as defined in ERISA § 3(7), 29 U.S.C. §
11
       1002(7), in the KPC ESOP because she has a colorable claim for additional
12
       benefits under the Plan. Plaintiff Gamino resides in Buford, Georgia.
13
             ANSWER: Alerus lacks knowledge as to the first two sentences of
14
       paragraph 9 and therefore denies them. The third sentence of paragraph 9 states
15
       legal conclusions, to which no response is required. To the extent a response is
16
       required Alerus denies the allegations in the third sentence of paragraph 9. Alerus
17
       lacks knowledge or information sufficient to form a belief as to the truth of the
18
       remaining allegations, and therefore denies them.
19
             Defendants
20
             10.    Defendant KPC Healthcare Holdings, Inc. (“KPC”) is and has been a
21
       California Corporation with its principal place of business in Riverside, California
22
       (according to the Summary Plan Description) or Corona, California (according to
23
       statements of information filed with the California Secretary of State). Since the
24
       inception of the ESOP, KPC has been the sponsor of the ESOP within the meaning
25
       of ERISA § 3(16)(B), 29 U.S.C. §1002(16)(B). Pursuant to KPCs authority to
26
       appoint and remove other fiduciaries of the ESOP, including the Trustee and the
27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 5
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 6 of 94 Page ID #:4294



 1
       members of the ESOP Committee, KPC is and was a fiduciary of the ESOP under
 2
       ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A). The current version of the Summary
 3
       Plan Description for the ESOP identifies KPC’s address as 6800 Indiana Avenue,
 4
       Suite 130, Riverside CA 92506 (i.e. in the Eastern Division of this District).
 5
              ANSWER: Alerus admits that KPC Healthcare Holdings, Inc. was
 6
       incorporated in California. The allegations in the first and fourth sentences of
 7
       paragraph 10 purport to paraphrase certain Plan documents and statements of
 8
       information. Alerus relies on those sources to speak for themselves, rather than on
 9
       Plaintiff’s characterization thereof. To the extent such characterizations are
10
       inconsistent with the cited documents, Alerus denies the allegations in the first and
11
       fourth sentences of paragraph 10. The remaining allegations in paragraph 10 state
12
       legal conclusions, to which no response is required. To the extent a response is
13
       required Alerus denies the remaining allegations in paragraph 10.
14
              The Committee Defendants
15
              11.    Defendant KPC Healthcare, Inc. Employee Stock Ownership Plan
16
       Committee (the “ESOP Committee”) is identified as the plan administrator in the
17
       ESOP’s Plan Document within the meaning of ERISA § 3(16)(A), 29 U.S.C §
18
       1002(16)(A). Pursuant to Section 11.15 of the written instrument of the Plan, the
19
       ESOP Committee is one of the named fiduciaries of the ESOP within the meaning
20
       of ERISA § 402, 29 U.S.C. § 1102. The ESOP Committee meets the definition of
21
       a person within the meaning of ERISA § 3(9), 29 U.S.C. § 1002(9), because
22
       ERISA defines the term person broadly and because a committee meets the
23
       definition of an association or an unincorporated organization. The Committee’s
24
       address is believed to be 6800 Indiana Avenue, Suite 130, Riverside CA 92506
25
       (i.e. in the Eastern Division of this District).
26

27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 6
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 7 of 94 Page ID #:4295



 1
             ANSWER: The allegations in the first and second sentences of paragraph
 2
       11 purport to paraphrase and/or cite to certain Plan provisions. Alerus relies on
 3
       those provisions to speak for themselves, rather than on Plaintiff’s characterization
 4
       thereof. To the extent such characterization is inconsistent with the terms of the
 5
       Plan provision, Alerus denies them. The third sentence of paragraph 11 states a
 6
       legal conclusion, to which no response is required. To the extent a response is
 7
       required, Alerus denies the allegations in the third sentence of paragraph 11.
 8
       Alerus lacks knowledge or information sufficient to form a belief as to what “is
 9
       believed,” and therefore denies this allegation.
10
             12.    The “Committee Defendants” means the ESOP Committee and the
11
       members of the Committee. According to the notes to the financial statements in
12
       Form 5500s filed with the United States Department of Labor, all members of the
13
       Board of Directors serve and have served on the ESOP Committee. As a result of
14
       the ESOP Committee being designated as the Plan Administrator and a named
15
       fiduciary of the ESOP under the terms of the Plan, and because the ESOP
16
       Committee and its members having discretionary authority or responsibility for the
17
       administration of the Plan, the ESOP Committee and its members are and were
18
       fiduciaries of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C §
19
       1002(21)(A).
20
             ANSWER: Alerus admits that Plaintiff purports to use the term
21
       “Committee Defendants” in paragraph 12. The allegations in the second sentence
22
       of paragraph 12 purport to paraphrase and/or cite to certain Form 5500s. Alerus
23
       relies on those documents to speak for themselves, rather than on Plaintiff’s
24
       characterization thereof. To the extent such characterization is inconsistent with
25
       the cited documents, Alerus denies the allegations in the second sentence of
26
       paragraph 12. The allegations in the third sentence state legal conclusions, to
27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 7
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 8 of 94 Page ID #:4296



 1
       which no response is required. To the extent a response is required Alerus denies
 2
       the allegations in the third sentence of paragraph 12.
 3
             The Trustee
 4
             13.    Defendant Alerus Financial, N.A. (“Alerus”) acted as Trustee of the
 5
       ESOP in connection with the 2015 ESOP Transaction. Alerus was appointed as
 6
       the Trustee of the KPC ESOP pursuant to the KPC Healthcare, Inc. Employee
 7
       Stock Ownership Trust dated April 1, 2015 (the “Trust Agreement”). Since the
 8
       2015 Transaction, Alerus has continued to be the Trustee of the KPC ESOP.
 9
       Pursuant to Section 11.15 of the written instrument of the Plan, the Trustee is one
10
       of the named fiduciaries of the ESOP within the meaning of ERISA § 402, 29
11
       U.S.C. § 1102. As a result of being the Trustee of the KPC ESOP, Alerus has been
12
       a fiduciary of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. §
13
       1002(21)(A). Alerus is headquartered in Grand Forks, North Dakota.
14
             ANSWER: Alerus admits that it acted as the independent trustee of the
15
       ESOP in connection with the 2015 Transaction, and has continued to act as
16
       independent trustee of the ESOP. Alerus admits that it is headquartered in Grand
17
       Forks, North Dakota. The allegations in the second and fourth sentences of
18
       paragraph 13 purport to paraphrase certain documents. Alerus relies on those
19
       sources to speak for themselves, rather than on Plaintiff’s characterization thereof.
20
       To the extent such characterizations are inconsistent with the cited documents,
21
       Alerus denies the allegations in the second and fourth sentences of paragraph 13.
22
       The remaining allegations in paragraph 13 state legal conclusions, to which no
23
       response is required.
24
             The Board of Directors
25
             14.    Defendant Kali Pradip Chaudhuri (“Dr. Chaudhuri”) is the Chief
26
       Executive Officer of KPC and the chairman of its board of directors. By virtue of
27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 8
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 9 of 94 Page ID #:4297



 1
       his position as CEO, membership on the KPC Board of Directors and his
 2
       membership on the ESOP Committee, Kali Pradip Chaudhuri is and has been a
 3
       fiduciary of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. §
 4
       1002(21)(A), since at least the time of 2015 ESOP Transaction. At the time of the
 5
       2015 Transaction, Dr. Chaudhuri was a “party in interest” as to the ESOP as
 6
       defined in ERISA § 3(14) (A), and (H), 29 U.S.C. § 1002(14) (A) and (H). Prior to
 7
       the 2015 ESOP Transaction, Kali Pradip Chaudhuri was the sole shareholder of
 8
       KPC. He sold his shares to the ESOP in the 2015 ESOP Transaction. Dr.
 9
       Chaudhuri resides in Hemet, CA in Riverside County (i.e. in the Eastern Division
10
       of this District).
11
              ANSWER: Alerus admits that Kali Pradip Chaudhuri currently is the Chief
12
       Executive Officer and Chairman of KPC Healthcare, Inc. The allegations in the
13
       second and third sentences of paragraph 14 state legal conclusions, to which no
14
       response is required. To the extent a response is required, Alerus denies the
15
       allegations in the second and third sentences of paragraph 14. Alerus admits that
16
       the ESOP purchased shares of KPC Healthcare Holdings Inc. from Kali Pradip
17
       Chaudhuri in the 2015 Transaction. Alerus lacks knowledge or information
18
       sufficient to form a belief as to the truth of allegations in the sixth sentence, and
19
       therefore denies them. Alerus denies the remaining allegations in paragraph 14.
20
              15.    Defendant Kali Priyo Chaudhuri, the son of Defendant Kali Pradip
21
       Chaudhuri, is the Chief Financial Officer of KPC, and is a member of its Board of
22
       Directors of KPC. Defendant Kali Priyo Chaudhuri was a member of the Board at
23
       the time of the 2015 ESOP Transaction. By virtue of his membership on the KPC
24
       Board of Directors and in turn, membership on the ESOP Committee, Kali Priyo
25
       Chaudhuri is and has been a fiduciary of the ESOP within the meaning of ERISA §
26
       3(21)(A), 29 U.S.C. § 1002(21)(A) since at least the time of 2015 Transaction.
27
       ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 9
28     AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 10 of 94 Page ID #:4298



 1
        Kali Priyo Chaudhuri resides in Tustin, CA in Orange County (i.e. in the Southern
 2
        Division of this District).
 3
              ANSWER: Alerus denies that Defendant Kali Priyo Chaudhuri is the Chief
 4
        Financial Officer of KPC. Alerus denies the allegations in the second sentence in
 5
        paragraph 15. The allegations in the third sentence of paragraph 15 state legal
 6
        conclusions, to which no response is required. To the extent a response is required
 7
        Alerus denies the allegations in the third sentence of paragraph 15. Alerus lacks
 8
        knowledge or information sufficient to form a belief as to the truth of allegations in
 9
        the fourth sentence, and therefore denies them.
10
              16.    Defendant Amelia Hippert is a member of the KPC Board of
11
        Directors. Defendant Amelia Hippert was appointed to the Board after the 2015
12
        ESOP Transaction. By virtue of her membership on the KPC Board of Directors,
13
        and in turn, membership on the ESOP Committee, Amelia Hippert is and has been
14
        a fiduciary of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. §
15
        1002(21)(A) since at least the time of her appointment to the KPC Board of
16
        Directors. Amelia Hippert resides in Hemet, CA in Riverside County (i.e. in the
17
        Eastern Division of this District).
18
              ANSWER: Alerus admits that Amelia Hippert currently is a member of the
19
        Board of Directors of KPC Healthcare, Inc. and was appointed to the Board after
20
        the 2015 ESOP Transaction. The allegations in the third sentence of paragraph 16
21
        state legal conclusions, to which no response is required. To the extent a response
22
        is required, Alerus denies the allegations in the third sentence of paragraph 16.
23
        Alerus lacks knowledge or information sufficient to form a belief as to the truth of
24
        allegations in the fourth sentence, and therefore denies them.
25
              17.    Defendant William E. Thomas is the secretary of KPC, in-house
26
        counsel for KPC, and a member of the Board of Directors of KPC. Defendant
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 10
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 11 of 94 Page ID #:4299



 1
        William E. Thomas was a member of the Board at the time of the 2015 ESOP
 2
        Transaction. Upon information and belief, Defendant Thomas has been Defendant
 3
        Kali Pradip Chaudhuri’s long-standing attorney. By virtue of his membership on
 4
        the KPC Board of Directors, and in turn, membership on the ESOP Committee,
 5
        William E. Thomas is and has been a fiduciary of the ESOP within the meaning of
 6
        ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A) since at least the time of 2015
 7
        Transaction. Based on the Warrant Purchase Agreement between KPC and
 8
        William E. Thomas entered into as part of the 2015 ESOP Transaction, Defendant
 9
        Thomas was formerly the holder of a Common Stock Warrant which entitled him
10
        to acquire common stock of Integrated Healthcare Holdings, Inc. Upon
11
        information and belief, Defendant Thomas resides in Riverside County (i.e. the
12
        Eastern Division of this District).
13
              ANSWER: Alerus admits the allegations in the first sentence of paragraph
14
        17. Alerus denies the allegations in the second sentence of paragraph 17.The
15
        allegations in the fourth sentence of paragraph 17 state legal conclusions, to which
16
        no response is required. To the extent a response is required, Alerus denies the
17
        allegations in the fourth sentence of paragraph 17. The fifth sentence in paragraph
18
        17 purports to paraphrase or characterize detailed document financial transactions
19
        and loan agreements. To the extent that such characterizations are inconsistent
20
        with the cited agreements, Alerus denies the allegations in the fifth sentence.
21
        Alerus lacks knowledge or information sufficient to form a belief as to the truth of
22
        the remaining allegations in paragraph 17 and therefore denies them.
23
              18.    Defendant Lori Van Arsdale is a member of the KPC board of
24
        directors. Defendant Lori Van Arsdale was appointed to the Board after the 2015
25
        ESOP Transaction. By virtue of her membership on the KPC Board of Directors,
26
        and in turn, membership on the ESOP Committee, Lori Van Arsdale is and has
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 11
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 12 of 94 Page ID #:4300



 1
        been at all relevant times been a fiduciary of the ESOP within the meaning of
 2
        ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A) since at least the time of her
 3
        appointment to the KPC Board of Directors. Defendant Van Arsdale resides in
 4
        Hemet, CA in Riverside County (i.e. in the Eastern Division of this District).
 5
              ANSWER: Alerus denies the allegations in the first and second sentences of
 6
        paragraph 18. The allegations in the third sentence of paragraph 18 state legal
 7
        conclusions, to which no response is required. To the extent a response is required,
 8
        Alerus denies the allegations in the third sentence of paragraph 18. Alerus lacks
 9
        knowledge or information sufficient to form a belief as to the truth of the
10
        allegations in the third sentence of paragraph 18 and therefore denies them.
11
              19.    The “Director Defendants” are Kali Pradip Chaudhuri, Kali Priyo
12
        Chaudhuri, Amelia Hippert, William E. Thomas, and Lori Van Arsdale.
13
              ANSWER: Alerus admits that Plaintiff purports to use the term “Director
14
        Defendants” in paragraph 19.
15
              Nominal Defendant
16
              20.    Nominal Defendant KPC Healthcare, Inc. Employee Stock Ownership
17
        Plan, a/k/a the KPC Healthcare, Inc. ESOP (the “KPC ESOP”), is an “employee
18
        pension benefit plan” within the meaning of ERISA § 3(2)(A), 29 U.S.C. §
19
        1002(2)(A). As the Plan Administer is located in Riverside, California, the Plan is
20
        also believed to be administered in Riverside, California. The ESOP purports to be
21
        a “defined contribution plan” within the meaning of ERISA § 3(34), 29 U.S.C. §
22
        1002(34) and an employee stock ownership plan under ERISA § 407(d)(6) that
23
        was intended to meet the requirements of Section 4975(e)(7) of the Internal
24
        Revenue Code (the “Code”) and IRS Regulations § 54.4975-11. The written
25
        instrument, within the meaning of ERISA § 402, 29 U.S.C. §1102, by which the
26
        Plan is maintained is the KPC Healthcare, Inc. Employee Stock Ownership Plan
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 12
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 13 of 94 Page ID #:4301



 1
        (the “Plan Document”), effective as of April 1, 2015. The ESOP is named as a
 2
        nominal defendant pursuant to Rule 19 to ensure that complete relief can be
 3
        granted as to claims brought on behalf of the ESOP.
 4
              ANSWER: The allegations in the first, third, fourth, and fifth sentences of
 5
        paragraph 20 state legal conclusions, to which no response is required. To the
 6
        extent a response is required Alerus admits that the Plan is an employee pension
 7
        benefit plan and a defined contribution plan and ESOP under 29 U.S.C. §
 8
        1107(d)(6) that was intended to meet the requirements of Section 4975(e)(7) of the
 9
        Internal Revenue Code and IRS Regulations § 54.4975-11. Alerus further admits
10
        that Plaintiff purports to name the Plan as a nominal defendant. Alerus otherwise
11
        denies the allegations in the first, third, fourth, and fifth sentences of paragraph 20.
12
        Alerus lacks knowledge or information sufficient to form a belief as to the truth of
13
        the allegations in the second sentence, and therefore denies them.
14
        V.    CLASS ACTION ALLEGATIONS
15
              21.    Plaintiff brings these claims as a class action pursuant to Fed. R. Civ.
16
        P. 23 (a) and (b), on behalf of the following Class:
17
              All participants in the KPC ESOP from August 28, 2015 or any time
18
              thereafter (unless they terminated employment without vesting in the ESOP)
19
              and those participants’ beneficiaries.
20
              Excluded from the Class are (a) Defendants, (b) any fiduciary of the Plan;
21
              (c) the officers and directors of KPC or of any entity in which one of the
22
              individual Defendants has a controlling interest; (d) the immediate family
23
              members of any of the foregoing excluded persons, and (e) the legal
24
              representatives, successors, and assigns of any such excluded persons.
25
              ANSWER: Alerus admits that Plaintiff purports to bring this action as a
26
        class action pursuant to Fed. R. Civ. P. 23(a) and (b). Alerus denies that a class
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 13
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 1
        action is appropriate or that the proposed class definition would be appropriate if a
 2
        class were certified.
 3
              Impracticability of Joinder
 4
              22.    The members of the Class are so numerous that joinder of all
 5
        members is impracticable. According to the 2018 Form 5500 filed with the
 6
        Department of Labor, which is the most recent available Form 5500, there were
 7
        2,655 participants (including 2,132 active participants, 228 retired or separated
 8
        participants receiving benefits and 283 retired or separated participants entitled to
 9
        future benefits) within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), in the
10
        ESOP as of August 31, 2019.
11
              ANSWER: Paragraph 22 states legal conclusions, to which no response is
12
        required. To the extent a response is required, Alerus denies the allegations in
13
        paragraph 22.
14
              Commonality
15
              23.    The issues of liability are common to all members of the Class and are
16
        capable of common answers as those issues primarily focus on Defendants’ acts
17
        (or failure to act). Questions of law and fact common to the Plaintiff Class as a
18
        whole include, but are not limited to, the following:
19
                     a.      Whether Defendant Alerus caused the ESOP to engage in
20
              prohibited transactions under ERISA by causing or permitting the ESOP to
21
              purchase KPC stock for more than adequate consideration in the 2015 ESOP
22
              Transaction;
23
                     b.      Whether Defendants Dr. Chaudhuri and William Thomas
24
              knowingly participated in those prohibited transactions;
25

26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 14
28      AMENDED COMPLAINT
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 1
                     c.      Whether Alerus engaged in a prudent investigation of the
 2
              proposed purchase of KPC stock by the ESOP in the 2015 ESOP
 3
              Transaction;
 4
                     d.      Whether Alerus breached its fiduciary duty to ESOP
 5
              participants by causing the ESOP to purchase KPC stock in 2015 for more
 6
              than fair market value;
 7
                     e.      Whether the Committee Defendants violated certain disclosure
 8
              provisions of ERISA or otherwise breached their fiduciary duties;
 9
                     f.      Whether KPC (and/or the Director Defendants) breached their
10
              fiduciary duties by failing to adequately monitor the ESOP’s Trustee and the
11
              Committee Defendants;
12
                     g.      Whether certain provisions of the Plan Document and Trust
13
              Agreement violate ERISA § 410;
14
                     h.      The amount of losses suffered by the ESOP as a result of
15
              Defendants’ fiduciary violations and the nature of other appropriate remedial
16
              or equitable relief to remedy Defendants’ breaches or violations.
17
              ANSWER: Paragraph 23 states legal conclusions, to which no response is
18
        required. To the extent a response is required, Alerus denies the allegations in
19
        paragraph 23.
20
              Typicality
21
              24.    Plaintiff’s claims are typical of those of the Class because their claims
22
        arise from the same event, practice and/or course of conduct. Specifically,
23
        Plaintiff, on behalf of the Class, alleges that Defendants breached their fiduciary
24
        duties, engaged in prohibited transactions or otherwise violated ERISA in
25
        connection with the sale of stock to the ESOP, management of the Plan or in
26
        performing their fiduciary duties to the Plan. Plaintiff challenges the legality and
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 15
28      AMENDED COMPLAINT
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 1
        appropriateness of a plan-wide transaction and disclosures, and Plaintiff like other
 2
        ESOP participants in the Class, has received less in her ESOP account based on the
 3
        same per share purchase price of KPC stock, and continue to suffer such losses in
 4
        the present because Defendants have failed to correct the overpayment by the
 5
        ESOP.
 6
              ANSWER: Paragraph 24 states legal conclusions, to which no response is
 7
        required. To the extent a response is required, Alerus denies the allegations in
 8
        paragraph 24.
 9
              Adequacy
10
              25.       Plaintiff will fairly and adequately represent and protect the interests
11
        of the Class.
12
              ANSWER: Paragraph 25 states legal conclusions, to which no response is
13
        required. To the extent a response is required, Alerus denies the allegations in
14
        paragraph 25.
15
              26.       Plaintiff does not have any interests antagonistic to or in conflict with
16
        those of the Class.
17
              ANSWER: Paragraph 26 states legal conclusions, to which no response is
18
        required. To the extent a response is required, Alerus denies the allegations in
19
        paragraph 26.
20
              27.       Defendants do not have any unique defenses against Plaintiff that
21
        would interfere with Plaintiff’s representation of the Class.
22
              ANSWER: Paragraph 27 states legal conclusions, to which no response is
23
        required. To the extent a response is required, Alerus denies the allegations in
24
        paragraph 27.
25
              28.       Plaintiff is represented by counsel with experience in complex class
26
        actions, ERISA, and with particular experience and expertise in ESOP litigation.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 16
28      AMENDED COMPLAINT
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 1
        Plaintiff’s counsel has been appointed as class counsel in numerous class action
 2
        ESOP cases.
 3
              ANSWER: Alerus lacks knowledge or information sufficient to form a
 4
        belief as to the truth of the allegations in paragraph 28 and therefore denies them.
 5
              Fed. R. Civ. P. Rule 23(b)(1)
 6
              29.     Class certification is appropriate pursuant to Fed. R. Civ. P.
 7
        23(b)(1)(A). Fiduciaries of ERISA-covered plans have a legal obligation to act
 8
        consistently with respect to all similarly situated participants and to act in the best
 9
        interests of the Plan and their participants. This action challenges whether
10
        Defendants acted consistently with their fiduciary duties or otherwise violated
11
        ERISA as to the ESOP as a whole. As a result, prosecution of separate actions by
12
        individual members would create the risk of inconsistent or varying adjudications
13
        that would establish incompatible standards of conduct relating to the Plan.
14
              ANSWER: Paragraph 29 states legal conclusions, to which no response is
15
        required. To the extent a response is required, Alerus denies the allegations in
16
        paragraph 29.
17
              30.     Class certification is also appropriate pursuant to Fed. R. Civ. P.
18
        23(b)(1)(B). Administration of an ERISA-covered plan requires that all similarly
19
        situated participants be treated the same. Resolving whether Defendants fulfilled
20
        their fiduciary obligations to the Plans, engaged in prohibited transactions with
21
        respect to the Plan would, as a practical matter, be dispositive of the interests of the
22
        other participants in the ESOP even if they are not parties to this litigation and
23
        would substantially impair or impede their ability to protect their interests if they
24
        are not made parties to this litigation by being included in the Class.
25

26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 17
28      AMENDED COMPLAINT
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 1
              ANSWER: Paragraph 30 states legal conclusions, to which no response is
 2
        required. To the extent a response is required, Alerus denies the allegations in
 3
        paragraph 30.
 4
              Fed. R. Civ. P. Rule 23(b)(2)
 5
              31.    Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2)
 6
        because Defendants have acted or refused to act on grounds generally applicable to
 7
        the Class, making appropriate declaratory and injunctive relief with respect to
 8
        Plaintiff and the Class as a whole. This action challenges whether Defendants
 9
        acted consistently with their fiduciary duties or otherwise violated ERISA as to the
10
        ESOP as a whole. The members of the Class are entitled to declaratory and
11
        injunctive relief to remedy Defendants’ fiduciary violations. As ERISA is based
12
        on trust law, any monetary relief consists of equitable monetary relief and is either
13
        provided directly by the declaratory or injunctive relief or flows as a necessary
14
        consequence of that relief.
15
              ANSWER: Paragraph 31 states legal conclusions, to which no response is
16
        required. To the extent a response is required, Alerus denies the allegations in
17
        paragraph 31.
18
              Fed. R. Civ. P. Rule 23(b)(3)
19
              32.    The requirements of Fed. R. Civ. P. 23(b)(3) are also satisfied.
20
        Common questions related to liability will necessarily predominate over any
21
        individual questions precisely because Defendants’ duties and obligations were
22
        uniform to all participants and therefore all members of the Class. Plaintiff and all
23
        Class members have been harmed by the ESOP paying more than fair market value
24
        for KPC stock in the 2015 ESOP Transaction. As relief and any recovery will be
25
        on behalf of the Plan, common questions as to remedies will likewise predominate
26
        over any individual issues.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 18
28      AMENDED COMPLAINT
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 1
              ANSWER: Paragraph 32 states legal conclusions, to which no response is
 2
        required. To the extent a response is required, Alerus denies the allegations in
 3
        paragraph 32.
 4
              33.     A class action is a superior method to other available methods for the
 5
        fair and efficient adjudication of this action. As the claims are brought on behalf
 6
        of the Plan, resolution of the issues in this litigation will be efficiently resolved in a
 7
        single proceeding rather than multiple proceedings and each of those individual
 8
        proceedings could seek recovery for the entire Plan. The losses suffered by
 9
        individual Class members are small compared to the expense and burden of
10
        individual prosecution of this action. In addition, class certification is superior
11
        because it will obviate the need for unduly duplicative litigation which might result
12
        in inconsistent judgments about Defendants’ duties with regard to the ESOP.
13
              ANSWER: Paragraph 33 states legal conclusions, to which no response is
14
        required. To the extent a response is required, Alerus denies the allegations in
15
        paragraph 33.
16
            34.       The following factors set forth in Rule 23(b)(3) also favor certification
17
        of this case as a class action:
18
                    a. The members of the Class have an interest in a unitary adjudication of
19
                      the issues presented in this action for the reasons that this case should
20
                      be certified under Rule 23(b)(1).
21
                    b. No other litigation concerning this controversy has been filed by any
22
                      other members of the Class.
23
                    c. This District is most desirable location for concentrating the litigation
24
                      for reasons that include (but are not limited to) the following: (i) KPC
25
                      is headquartered in this District, (ii) the KPC ESOP is administered in
26
                      this District, (iii) most of Defendants reside, work and transact
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 19
28      AMENDED COMPLAINT
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 1
                      business in this District, and (iii) certain non-party witnesses are
 2
                      located in this District.
 3
                    d. The names and addresses of the members of the Class are available
 4
                      from the ESOP. Notice can be provided to all members of the Class
 5
                      to the extent required by Rule 23.
 6
              ANSWER: Paragraph 34 states legal conclusions, to which no response is
 7
        required. To the extent a response is required, Alerus denies the allegations in
 8
        paragraph 34.
 9

10
        VI.   FACTUAL ALLEGATIONS
11
              Defendant Dr. Kali Pradip Chaudhuri Finances the Acquisition of Four
12
              Hospitals Over Community Objections
13
              35.     Integrated Healthcare Holdings, Inc. (“Integrated Health”) was
14
        formerly a publicly traded medical holding company. According to Integrated
15
        Health’s Form 10-K for the fiscal year ended March 31, 2013, the company had no
16
        material operations until March 8, 2005 when it acquired four Orange County,
17
        California hospitals previously operated by Tenet Healthcare Corp.: Western
18
        Medical Center in Santa Ana; Western Medical Center in Anaheim; Coastal
19
        Communities Hospital in Santa Ana; and Chapman Medical Center in Orange.
20
        Integrated Health purchased the hospitals in part through debt financing provided
21
        by Dr. Chaudhuri.
22
              ANSWER: Alerus admits the allegations in the first sentence of paragraph
23
        35. The second sentence of paragraph 35 purports to paraphrase and/or cite to a
24
        certain Form 10-K. Alerus relies on that source to speak for itself, rather than on
25
        Plaintiff’s characterizations thereof. To the extent that such characterizations are
26
        inconsistent with the cited Form 10-K, Alerus denies the allegations in the second
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 20
28      AMENDED COMPLAINT
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 1
        sentence of paragraph 35. Alerus denies the remaining allegations of paragraph
 2
        35.
 3
              36.    According to an article entitled “KCP Healthcare Bets on ESOP”
 4
        published in the Orange County Business Journal on March 13, 2017, in 2005 Dr.
 5
        Chaudhuri initially led Integrated Health’s bid to acquire the four Tenet hospitals.
 6
              ANSWER: Paragraph 36 purports to paraphrase and/or cite to a certain
 7
        article. Alerus relies on that source to speak for itself, rather than on Plaintiff’s
 8
        characterization thereof. To the extent that characterization is inconsistent with the
 9
        cited article, Alerus denies the allegations in paragraph 36.
10
              37.    Integrated Health’s acquisition of these hospitals was met with vocal
11
        public opposition because of Dr. Chaudhuri’s involvement. One of Dr.
12
        Chaudhuri’s other companies, KPC Medical Management Inc., went bankrupt
13
        shortly after acquiring the Southern California provider network of MedPartners,
14
        resulting in the abrupt closure of 38 California clinics and abruptly leaving 300,000
15
        patients without medical care.
16
              ANSWER: Alerus lacks knowledge or information sufficient to form a
17
        belief as to the truth of the allegations in paragraph 37, and therefore denies them.
18
              38.    The KPC Medical Management bankruptcy was dogged by
19
        allegations of financial mismanagement and self-dealing by Dr. Chaudhuri.
20
        According to an article entitled “KPC Filings Spur More Questions” published by
21
        the California American College of Emergency Physicians in February of 2001, a
22
        bankrupt affiliate of KPC Medical Management paid $5 million to Dr. Chaudhuri
23
        in January 2000, even as KPC Medical Management was negotiating with HMOs
24
        for a bailout loan. The week before KPC Medical Management filed for
25
        bankruptcy, it paid $1.5 million to its attorneys, including $150,000 to Dr.
26
        Chaudhuri’s personal attorney Defendant William Thomas (after he had already
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 21
28      AMENDED COMPLAINT
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 1
        resigned as corporate counsel to KPC Medical Management). And creditors
 2
        alleged that Chaudhuri had improperly moved assets between KPC Medical
 3
        Management and his other businesses.
 4
              ANSWER: The allegations in the second sentence of paragraph 38 purport
 5
        to paraphrase and/or cite to an article. Alerus relies on that source to speak for
 6
        itself, rather than on Plaintiff’s characterization thereof. To the extent that
 7
        characterization is inconsistent with the cited article, Alerus denies the allegations
 8
        in the second sentence of paragraph 38. Alerus lacks knowledge or information
 9
        sufficient to form a belief as to the truth of the remaining allegations in paragraph
10
        38, and therefore denies them.
11
              39.    According to documents filed in litigation between Dr. Chaudhuri and
12
        Defendant William E. Thomas, among others, on the one hand and two Southern
13
        California physician groups on the other hand, Dr. Chaudhuri systematically looted
14
        MedPartners—shutting down facilities, firing doctors and staff members, all under
15
        the pretense of cutting costs. Meanwhile, Dr. Chaudhuri lined his own pockets
16
        while continuing to draw income from MedPartners while refusing to pay
17
        independently contracted specialty physicians. Dr. Chaudhuri even had staff write
18
        checks to show health plans payments were being made while instructing them to
19
        stash those same checks in locked filing cabinets (instead of mailing them).
20
        Within the first 18 months following the MedPartners acquisition, $30 million in
21
        assets had disappeared from the company and it had run up debts of $450 million.
22
              ANSWER: Alerus lacks knowledge or information sufficient to form a
23
        belief as to the truth of the allegations in paragraph 39, and therefore denies them.
24
              40.    In response to Dr. Chaudhuri’s contemplated involvement in the
25
        Integrated Health purchase of the Tenet hospitals, a spokeswoman for the
26
        California Department of Health Services stated that they had “concerns... about
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 22
28      AMENDED COMPLAINT
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 1
        the applicant’s reputable and responsible character.” California state senators
 2
        Joseph Dunn and Deborah Ortiz stated in a letter to the director of the DHS that
 3
        they were “deeply concerned” about Chaudhuri’s involvement in the venture and
 4
        sought “assurances that Dr. Chaudhuri’s role would not result in the [Western
 5
        Medical-Santa Ana] hospital going the KPC route.”
 6
              ANSWER: Paragraph 40 purports to paraphrase, quote, and/or cite to
 7
        certain statements. Alerus relies on the statements to speak for themselves, rather
 8
        than on Plaintiff’s characterizations thereof. To the extent such characterizations
 9
        are inconsistent with such statements, Alerus denies the allegations in paragraph
10
        40.
11
              41.    According to a January 27, 2005 OC Weekly article entitled, “Now
12
        With Less Chaudhuri!” then current and former chiefs of staff at the Western
13
        Medical of Santa Ana trauma facility, Michael Fitzgibbons, and Robert Steedman,
14
        opposed the deal because of Dr. Chaudhuri’s involvement. Together with more
15
        than 70 other doctors, they created a competing acquisition group, Western
16
        Medical Center Acquisition, LLC, and organized protests of the Integrated Health
17
        purchase. But Fitzgibbons and Steedman were intimidated into silence and
18
        acquiescence to the Integrated Health transaction by Dr. Chaudhuri’s litigation
19
        threats. Following the acquisition, Fitzgibbons would continue to face retaliation.
20
        The CEO of Integrated Health, Bruce Mogel, planted a loaded handgun in
21
        Fitzgibbon’s car and called the police on him. Mogel also caused Fitzgibbon’s
22
        daughter to be in a serious auto accident after her tires were slashed. Fitzgibbon
23
        would later win a $5.7 million jury verdict against both Integrated Health and
24
        Mogel for this conduct.
25
              ANSWER: The allegations in the first sentence of paragraph 41 purport to
26
        paraphrase and/or cite to an article. Alerus relies on that source to speak for itself,
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 23
28      AMENDED COMPLAINT
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 1
        rather than on Plaintiff’s characterization thereof. To the extent that
 2
        characterization is inconsistent with the cited article, Alerus denies the allegations
 3
        in the first sentence of paragraph 41. Alerus lacks knowledge or information
 4
        sufficient to form a belief as to the truth of the remaining allegations in paragraph
 5
        41, and therefore denies them.
 6
              42.    As a result of the opposition by the public, doctors, regulatory
 7
        authorities, and legislators to Chaudhuri’s involvement in another acquisition of
 8
        medical facilities, Dr. Chaudhuri reduced his planned stake in Integrated Health
 9
        and its acquisition of the Tenet hospitals. According to a March 21, 2005 article in
10
        the Los Angeles Times entitled “Doctors Operate This Company, Dr, Chaudhuri
11
        took a reduced role at Integrated Health as part of its acquisition of the Tenet
12
        hospitals, providing debt financing for the transaction instead of a substantial
13
        equity investment. Cardiologist Anil Shah (“Shah”) and a consortium of doctors
14
        led by him, Orange County Physicians Investment Network LLC (“OCPIN”)
15
        provided the bulk of the equity investment and took an 83% ownership interest in
16
        Integrated Health. Chaudhuri also owned 49% of a real estate subsidiary formed
17
        by OCPIN to own land associated with three of the four hospitals. And Dr.
18
        Chaudhuri and his lawyer—Defendant William E. Thomas—retained a right to
19
        purchase up to 25% of Integrated Health.
20
              ANSWER: The allegations in the second sentence of paragraph 42 purport
21
        to paraphrase and/or cite to an article. Alerus relies on that source to speak for
22
        itself, rather than on Plaintiff’s characterization thereof. To the extent that
23
        characterization is inconsistent with the cited article, Alerus denies the allegations
24
        in the second sentence of paragraph 42. Alerus lacks knowledge or information
25
        sufficient to form a belief as to the truth of the remaining allegations in paragraph
26
        42, and therefore denies them.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 24
28      AMENDED COMPLAINT
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 1
              43.    In that same March 21, 2005 article in the Los Angeles Times, Shah
 2
        claimed that no one should be concerned by Dr. Chaudhuri’s involvement in
 3
        Integrated Health, because “He will never have a controlling interest.” At the same
 4
        time, according to the California Healthcare Daily Edition, Larry Anderson,
 5
        president of Integrated Health, “repeatedly assured critics that Chaudhuri would
 6
        have no role in the daily operations of the facilities....”
 7
              ANSWER: Paragraph 43 purports to paraphrase, quote, and/or cite to
 8
        certain articles. Alerus relies on those sources to speak for themselves, rather than
 9
        on Plaintiff’s characterizations thereof. To the extent that such characterizations
10
        are inconsistent with the cited articles, Alerus denies the allegations in paragraph
11
        43.
12
              Integrated Health’s Stock Performance & Value 2010 to 2013
13
              44.    From April 2010 to March 2011, shares of Integrated Health traded on
14
        the OTCQB Venture Market at prices between $0.02 and $0.07 per share. Based
15
        on the 255,307,262 shares of common stock of Integrated Health outstanding
16
        between April 2010 and March 2011, these stock prices imply a market
17
        capitalization and equity value of between approximately $5.1 million and $17.9
18
        million during that period.
19
              ANSWER: Paragraph 44 purports to rely upon, paraphrase and derive
20
        calculations from certain unidentified documents and/or data. Alerus relies on that
21
        source to speak for itself, rather than on Plaintiff’s characterizations and
22
        calculations thereof. To the extent that such characterizations and calculations are
23
        inconsistent with the cited documents or data, Alerus denies the allegations in
24
        paragraph 44.
25
              45.    According to Integrated Health’s 2011 Form 10-K, for the fiscal year
26
        ending March 31, 2011, Integrated Health had assets of $149.2 million and
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 25
28      AMENDED COMPLAINT
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 1
        liabilities of $167.8 million, for a stockholders’ deficiency of approximately $18.7
 2
        million.
 3
              ANSWER: Paragraph 45 purports to paraphrase and/or cite to a certain
 4
        Form 10-K. Alerus relies on that source to speak for itself, rather than on
 5
        Plaintiff’s characterizations thereof. To the extent that such characterizations are
 6
        inconsistent with the cited Form 10-K, Alerus denies the allegations in paragraph
 7
        45.
 8
              46.    From April 2011 to March 2012, shares of Integrated Health traded on
 9
        the OTCQB Venture Market at prices between $0.01 and $0.22 per share. Based
10
        on the 255,307,262 shares of common stock of Integrated Health outstanding
11
        between April 2011 and March 2012, these stock prices imply a market
12
        capitalization and equity value of between approximately $2.6 million and $56.2
13
        million during that period.
14
              ANSWER: Paragraph 46 purports to rely upon, paraphrase and derive
15
        calculations from certain unidentified documents and/or data. Alerus relies on that
16
        source to speak for itself, rather than on Plaintiff’s characterizations and
17
        calculations thereof. To the extent that such characterizations and calculations are
18
        inconsistent with the cited documents or data, Alerus denies the allegations in
19
        paragraph 46.
20
              47.    According to Integrated Health’s 2012 Form 10-K, for the fiscal year
21
        ending March 31, 2012, Integrated Health had assets of $145 million and liabilities
22
        of $157 million, for a stockholders’ deficiency of $11 million.
23
              ANSWER: Paragraph 47 purports to paraphrase and/or cite to a certain
24
        Form 10-K. Alerus relies on that source to speak for itself, rather than on
25
        Plaintiff’s characterizations thereof. To the extent that such characterizations are
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 26
28      AMENDED COMPLAINT
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 1
        inconsistent with the cited Form 10-K, Alerus denies the allegations in paragraph
 2
        47.
 3
                48.   From April 2012 to March 2013, shares of Integrated Health traded on
 4
        the OTCQB Venture Market at prices between $0.04 and $0.11 per share. Based
 5
        on the 255,307,262 shares of common stock of Integrated Health outstanding at
 6
        that time, this implies a market capitalization and equity value of between
 7
        approximately $10.2 million and $28.1 million between April 2012 and March
 8
        2013.
 9
                ANSWER: Paragraph 48 purports to rely upon, paraphrase and derive
10
        calculations from certain unidentified documents and/or data. Alerus relies on that
11
        source to speak for itself, rather than on Plaintiff’s characterizations and
12
        calculations thereof. To the extent that such characterizations and calculations are
13
        inconsistent with the cited documents or data, Alerus denies the allegations in
14
        paragraph 48.
15
                49.   According to Integrated Health’s 2013 Form 10-K, for the fiscal year
16
        ending March 31, 2013, Integrated Health had assets of $167 million and liabilities
17
        of $197 million, for a stockholders’ deficiency of $30 million.
18
                ANSWER: Paragraph 49 purports to paraphrase and/or cite to a certain
19
        Form 10-K. Alerus relies on that source to speak for itself, rather than on
20
        Plaintiff’s characterizations thereof. To the extent that such characterizations are
21
        inconsistent with the cited Form 10-K, Alerus denies the allegations in paragraph
22
        49.
23
                Defendant Dr. Kali Pradip Chaudhuri Purchases 100% of the Shares of
24
                Integrated Health and Defendants Dr. Chaudhuri and Thomas Acquire
25
                Integrated Health Warrants
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 27
28      AMENDED COMPLAINT
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 1
              50.    Between 2005 and 2010, Dr. Chaudhuri gradually acquired stock in
 2
        and consolidated his control over Integrated Health. According to an Orange
 3
        County Register article dated January 25, 2010 entitled “Controversial doctor gets
 4
        more clout at Western Med,” by 2010 Dr. Chaudhuri had amassed a majority
 5
        ownership interest in Integrated Health in addition to being its principal lender.
 6
              ANSWER: The allegations in the second sentence of paragraph 50 purport
 7
        to paraphrase and/or cite to an article. Alerus relies on that source to speak for
 8
        itself, rather than on Plaintiff’s characterizations thereof. To the extent that such
 9
        characterizations are inconsistent with the cited article, Alerus denies the
10
        allegations in second sentence of paragraph 50. Alerus lacks knowledge or
11
        information sufficient to form a belief as to the truth of the remaining allegations in
12
        paragraph 50, and therefore denies them.
13
              51.    Based on documents publicly filed with the Securities and Exchange
14
        Commission, in April of 2010 Dr. Chaudhuri acquired two sets of common stock
15
        warrants collectively entitling the holder to acquire approximately 309,000 shares
16
        of Integrated Health common stock.
17
              ANSWER: The allegations in paragraph 50 purport to paraphrase and/or
18
        cite to certain documents. Alerus relies on that source to speak for itself, rather
19
        than on Plaintiff’s characterizations thereof. To the extent that such
20
        characterizations are inconsistent with the cited article, Alerus denies the
21
        allegations in Paragraph 51.
22
              52.    SPCP Group, LLC (“SPCP Group”) is a Delaware limited liability
23
        company and an investment management firm affiliated with Silver Point Capital
24
        Partners, a hedge fund. Based on a Warrant Purchase Agreement between KPC
25
        and SPCP Group entered into as part of the 2015 ESOP Transaction, SPCP Group
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 28
28      AMENDED COMPLAINT
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 1
        was formerly the holder of a Common Stock Warrant which entitled SPCP Group
 2
        to acquire common stock of Integrated Healthcare Holdings, Inc.
 3
                ANSWER: Alerus admits the allegations in the first sentence of paragraph
 4
        52. The remaining allegations in paragraph 52 purport to paraphrase or
 5
        characterize detailed documented financial transactions and loan agreements. To
 6
        the extent that such characterizations are inconsistent with the cited transaction and
 7
        loan agreements, Alerus denies the allegations in paragraph 52.
 8
                53.   Based on a Warrant Purchase Agreement entered into as part of the
 9
        2015 ESOP Transaction, on April 13, 2010, SPCP Group acquired a common stock
10
        warrant entitling the holder to acquire 79,182,635 shares of Integrated Health
11
        common stock. SPCP Group provided financing for Dr. Chaudhuri’s acquisition of
12
        IHHI.
13
                ANSWER: The allegations in paragraph 53 purport to paraphrase or
14
        characterize detailed documented financial transactions and loan agreements. To
15
        the extent that such characterizations are inconsistent with the cited transaction and
16
        loan agreements, Alerus denies the allegations in paragraph 53.
17
                54.   By March 31, 2013, Integrated Health’s Form 10-K identified
18
        Defendant Kali Pradip Chaudhuri as the beneficial owner of 77.55% of the
19
        outstanding stock of the company.
20
                ANSWER: Paragraph 54 purports to paraphrase and/or cite to a certain
21
        Form 10-K. Alerus relies on that source to speak for itself, rather than on
22
        Plaintiff’s characterizations thereof. To the extent that such characterizations are
23
        inconsistent with the cited Form 10-K, Alerus denies the allegations in paragraph
24
        54.
25
                55.   On September 12, 2013, Defendant Kali Pradip Chaudhuri filed an
26
        Amended Schedule 13D with the SEC stating he “had reached an understanding as
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 29
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 30 of 94 Page ID #:4318



 1
        to the principal terms of a proposed transaction in which Dr. Chaudhuri or his
 2
        affiliate will acquire an aggregate of 100,110,430 shares of common stock” held by
 3
        Shah, OCPIN, and a Mr. Hari S. Lal. Dr. Chaudhuri further stated that after
 4
        closing those purchases he intended to “acquire all of the remaining shares of
 5
        common stock of the Issuer.”
 6
              ANSWER: Paragraph 55 purports to paraphrase, quote, and/or cite to a
 7
        certain Amended Schedule 13D. Alerus relies on that source to speak for itself,
 8
        rather than on Plaintiff’s characterizations thereof. To the extent that such
 9
        characterizations are inconsistent with the cited Amended Schedule 13D, Alerus
10
        denies the allegations in paragraph 55.
11
              56.    According to an Amended Schedule 13-D filed by Silver Point
12
        Capital, L.P. with the SEC on September 12, 2013, Defendant Kali Pradip
13
        Chaudhuri agreed to pay $0.203 per share to acquire these 100,110,430 shares of
14
        Integrated Health stock and planned “a second step, ‘short-form’ merger in
15
        accordance with the laws of the State of Nevada pursuant to which all other
16
        shareholders of the Issuer would receive merger consideration that would
17
        approximate the consideration per share received by the Selling Shareholders.”
18
              ANSWER: Paragraph 56 purports to paraphrase, quote, and/or cite to a
19
        certain Amended Schedule 13-D. Alerus relies on that source to speak for itself,
20
        rather than on Plaintiff’s characterizations thereof. To the extent that such
21
        characterizations are inconsistent with the cited Amended Schedule 13-D, Alerus
22
        denies the allegations in paragraph 56.
23
              57.    According to the Form 10-Q filed by Integrated Health with the
24
        Securities and Exchange Commission on November 14, 2013, Integrated Health
25
        had 255,307,262 shares of stock outstanding as of November 7, 2013—the same
26
        number that it had outstanding as of August 7, 2013, according to the Form 10-Q
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 30
28      AMENDED COMPLAINT
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 1
        filed by Integrated Health with the Securities and Exchange Commission on
 2
        August 14, 2013.
 3
              ANSWER: Paragraph 57 purports to paraphrase, quote, and/or cite to a
 4
        certain Form 10-Q. Alerus relies on that source to speak for itself, rather than on
 5
        Plaintiff’s characterizations thereof. To the extent that such characterizations are
 6
        inconsistent with the cited Form 10-Q, Alerus denies the allegations in paragraph
 7
        57.
 8
              58.    The terms Dr. Chaudhuri disclosed under which he would acquire
 9
        100% of the outstanding common stock of Integrated Health therefore implied a
10
        value to the entire company of approximately $51,827,374 (255,307,262 shares at
11
        $0.203/share).
12
              ANSWER: Alerus lacks knowledge or information sufficient to form a
13
        belief as to the truth of the allegations in paragraph 58, and therefore denies them.
14
              59.    Integrated Health then terminated the registration of its securities with
15
        the SEC effective January 7, 2014.
16
              ANSWER: Alerus lacks knowledge or information sufficient to form a
17
        belief as to the truth of the allegations in paragraph 59, and therefore denies them.
18
              60.    On information and belief, Dr. Chaudhuri consummated the planned
19
        purchase of 100,110,430 shares of Integrated Health stock from Shah, OCPIN, and
20
        Mr. Lal. for $0.203 per share.
21
              ANSWER: Alerus lacks knowledge or information sufficient to form a
22
        belief as to the truth of the allegations in paragraph 60, and therefore denies them.
23
              61.    According to contemporaneous postings to InvestorsHub, an internet
24
        forum for discussion of stock trades, remaining shareholders of Integrated Health
25
        were cashed out at a price of $0.203 per share in May of 2014—the price at which
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 31
28      AMENDED COMPLAINT
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 1
        Dr. Chaudhuri had previously disclosed he would acquire 100% of the outstanding
 2
        stock of Integrated Health.
 3
              ANSWER: Paragraph 61 purports to paraphrase and/or cite to certain
 4
        website postings. Alerus relies on those sources to speak for themselves, rather
 5
        than on Plaintiff’s characterizations thereof. To the extent that such
 6
        characterizations are inconsistent with the cited website postings, Alerus denies the
 7
        allegations in paragraph 61.
 8
              62.    Dr. Chaudhuri acquired all the outstanding stock of Integrated Health
 9
        through these transactions.
10
              ANSWER: Alerus lacks knowledge or information sufficient to form a
11
        belief as to the truth of the allegations in paragraph 62, and therefore denies them.
12
              63.    Based on a Warrant Purchase Agreement entered into as part of the
13
        2015 ESOP Transaction, on April 29, 2014, Integrated Health issued a common
14
        stock warrant to Defendant Thomas which entitled the holder to acquire
15
        19,427,145 shares of common stock of Integrated Health.
16
              ANSWER: The allegations in paragraph 63 purport to paraphrase or
17
        characterize detailed documented financial transactions and loan agreements. To
18
        the extent that such characterizations are inconsistent with the cited transaction and
19
        loan agreements, Alerus denies the allegations in paragraph 63.
20
              Defendant Dr. Kali Pradip Chaudhuri Renames Integrated Health as
21
              KPC and Sells the Company to the ESOP at an Inflated Price
22
              64.    Between 2013 and 2015, Integrated Health experienced financial
23
        distress. Repeated rounds of layoffs and rehirings had long been characteristic of
24
        Integrated Health’s employment practices. As a result of the financial difficulties
25
        and related layoffs, employees such as Plaintiff Gamino believed that their
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 32
28      AMENDED COMPLAINT
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 1
        employment was increasingly precarious and were never sure if they would be
 2
        employed the next day.
 3
              ANSWER: Alerus lacks knowledge or information sufficient to form a
 4
        belief as to the truth of the allegations in paragraph 64, and therefore denies them.
 5
              65.    According to the Articles of Incorporation obtained from the State of
 6
        California Secretary of State, KPC was incorporated on July 24, 2015.
 7
              ANSWER: Paragraph 65 purports to paraphrase and/or cite to certain
 8
        Articles of Incorporation. Alerus relies on that source to speak for itself, rather
 9
        than on Plaintiff’s characterizations thereof. To the extent that such
10
        characterizations are inconsistent with the cited Articles of Incorporation, Alerus
11
        denies the allegations in paragraph 65.
12
              66.    According to an article published in the Press Enterprise on June 11,
13
        2015, KPC was a new name for Integrated Health, which Defendant Kali Pradip
14
        Chaudhuri had taken private in 2014.
15
              ANSWER: Paragraph 66 purports to paraphrase and/or cite to a certain
16
        article. Alerus relies on that source to speak for itself, rather than on Plaintiff’s
17
        characterizations thereof. To the extent that such characterizations are inconsistent
18
        with the cited article, Alerus denies the allegations in paragraph 66.
19
              67.    According to an article published in the Orange County Business
20
        Journal on March 13, 2017, entitled “KPC Healthcare Bets on ESOP,” KPC was
21
        owned by Defendant Kali Pradip Chaudhuri prior to the 2015 ESOP Transaction.
22
        In that article, Dr. Chaudhuri is quoted as stating that “I give my shares to
23
        [employees] but if they stay for five years [or more], it’s a win for us.” (emphasis
24
        added, brackets in original). By this statement, Dr. Chaudhuri acknowledged that
25
        he sold his share to the ESOP.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 33
28      AMENDED COMPLAINT
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 1
              ANSWER: Paragraph 67 purports to paraphrase, quote, and/or cite to a
 2
        certain article. Alerus relies on that source to speak for itself, rather than on
 3
        Plaintiff’s characterizations thereof. To the extent that such characterizations are
 4
        inconsistent with the cited article, Alerus denies the allegations in paragraph 67.
 5
              68.    According to the 2015 Form 5500 filed with the Department of Labor
 6
        on June 15, 2017, KPC Healthcare adopted the ESOP effective April 1, 2015.
 7
              ANSWER: The allegations in paragraph 68 purport to paraphrase and/or
 8
        cite to a certain Form 5500. Alerus relies on that source to speak for itself, rather
 9
        than on Plaintiff’s characterizations thereof. To the extent that such
10
        characterizations are inconsistent with the cited Form 5500, Alerus denies the
11
        allegations in the first sentence of paragraph 68.
12
              69.    On August 28, 2015, Alerus, acting as Trustee of the ESOP, caused
13
        the ESOP to purchase 100% of the shares of KPC Common Stock.
14
              ANSWER: The allegations in paragraph 69 purport to paraphrase or
15
        characterize detailed documented financial transactions and loan agreements. To
16
        the extent that such characterizations are inconsistent with the cited transaction and
17
        loan agreements, Alerus denies the allegations in paragraph 69.
18
              70.    Based on a Warrant Purchase Agreement entered into as part of the
19
        2015 ESOP Transaction, as part of the 2015 ESOP Transaction, Defendant Thomas
20
        sold his common stock warrant entitling the holder to acquire 19,427,145 shares of
21
        common stock of KPC to KPC on August 27, 2015, in exchange for: (a)
22
        $2,742,000 in cash; (b) a promissory note in the original principal amount of
23
        $3,928,000; (c) a warrant to purchase 111,157 shares of KPC at an exercise price
24
        of $2.50 per share; and (d) 2.5% of any net payments received by KPC or its
25
        subsidiaries under California’s hospital quality assurance fee (QAF) program based
26
        on services provided from January 1, 2017, to December 31, 2024.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 34
28      AMENDED COMPLAINT
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 1
              ANSWER: The allegations in paragraph 70 purport to paraphrase or
 2
        characterize detailed documented financial transactions and loan agreements. To
 3
        the extent that such characterizations are inconsistent with the cited transaction and
 4
        loan agreements, Alerus denies the allegations in paragraph 70.
 5
              71.    Based on a Warrant Purchase Agreement entered into as part of the
 6
        2015 ESOP Transaction, as part of the 2015 ESOP Transaction Defendant SPCP
 7
        Group sold its common stock warrant entitling the holder to acquire 79,182,635
 8
        shares of common stock of KPC to KPC on August 27, 2015, in exchange for: (a)
 9
        $18,810,000 in cash; (b) a promissory note in the original principal amount of
10
        $26,946,000; (c) a warrant to purchase 762,592 shares of KPC at an exercise price
11
        of $2.50 per share; and (d) 10.2% of any net payments received by KPC or its
12
        subsidiaries under California’s hospital quality assurance fee (QAF) program based
13
        on services provided from January 1, 2017, to December 31, 2024.
14
              ANSWER: The allegations in paragraph 71 purport to paraphrase or
15
        characterize detailed documented financial transactions and loan agreements. To
16
        the extent that such characterizations are inconsistent with the cited transaction and
17
        loan agreements, Alerus denies the allegations in paragraph 71.
18
              72.    Based on the Warrant Cancellation and Release Agreement entered
19
        into as part of the 2015 ESOP Transaction, on August 27, 2015, Defendant Kali
20
        Pradip Chaudhuri agreed to the cancellation of common stock warrants previously
21
        issued to him by KPC Healthcare, Inc., a subsidiary of KPC, in exchange for
22
        48.3% of any net payments received by KPC or its subsidiaries under California’s
23
        hospital quality assurance fee (QAF) program based on services provided from
24
        January 1, 2017, to December 31, 2024.
25
              ANSWER: The allegations in paragraph 72 purport to paraphrase or
26
        characterize detailed documented financial transactions and loan agreements. To
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 35
28      AMENDED COMPLAINT
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 1
        the extent that such characterizations are inconsistent with the cited transaction and
 2
        loan agreements, Alerus denies the allegations in paragraph 72.
 3
              73.    Based on the Stock Purchase Agreement entered into as part of the
 4
        2015 ESOP Transaction, on August 27, 2015, Defendant Dr. Kali Pradip
 5
        Chaudhuri sold all of the issued and outstanding shares of the common stock of
 6
        KPC to the KPC Healthcare, Inc. Employee Stock Ownership Trust (the “Trust”),
 7
        which implements and forms a part of the ESOP. To finance this purchase,
 8
        Defendant Alerus, acting as Trustee of the ESOP, paid cash to Defendant Dr. Kali
 9
        Pradip Chaudhuri in the amount of $89,448,000 and issued a promissory note to
10
        him in the original principal amount of $128,126,000, for an aggregate purchase
11
        price of $217,574,000 (or an implied share price of $21.76).
12
              ANSWER: The allegations in paragraph 73 purport to paraphrase or
13
        characterize detailed documented financial transactions and loan agreements. To
14
        the extent that such characterizations are inconsistent with the cited transaction and
15
        loan agreements, Alerus denies the allegations in paragraph 73.
16
              74.    Based on internal KPC documents describing the distribution of
17
        qualified assurance fee (QAF) payments, Eureka Capital Partners—the sell-side
18
        financial advisor to Dr. Chaudhuri in the 2015 ESOP Transaction—received .6%
19
        of any net payments received by KPC or its subsidiaries under California’s hospital
20
        quality assurance fee (QAF) program based on services from January 1, 2017, to
21
        December 31, 2024, as consideration for its services in connection with the 2015
22
        ESOP Transaction.
23
              ANSWER: The allegations in paragraph 74 purport to paraphrase or
24
        characterize detailed documented financial transactions and loan agreements. To
25
        the extent that such characterizations are inconsistent with the cited transaction and
26
        loan agreements, Alerus denies the allegations in paragraph 74.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 36
28      AMENDED COMPLAINT
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 1
              75.    Based on the Stock Purchase Agreement entered into as part of the
 2
        2015 ESOP Transaction, Defendant Kali Pradip Chaudhuri received additional
 3
        consideration in the 2015 ESOP Transaction, including KPC’s commitment to
 4
        paying fees to Chaudhuri’s management company.
 5
              ANSWER: The allegations in paragraph 75 purport to paraphrase or
 6
        characterize detailed documented financial transactions and loan agreements. To
 7
        the extent that such characterizations are inconsistent with the cited transaction and
 8
        loan agreements, Alerus denies the allegations in paragraph 75.
 9
              76.    The total consideration for the 2015 ESOP Transaction thus consisted
10
        of at least the cash, notes, QAF payment rights, and management fee commitments
11
        conveyed to Dr. Chaudhuri as well as the QAF payment rights conveyed to Mr.
12
        Thomas and SPCP.
13
              ANSWER: The allegations in paragraph 76 purport to paraphrase or
14
        characterize detailed documented financial transactions and loan agreements. To
15
        the extent that such characterizations are inconsistent with the cited transaction and
16
        loan agreements, Alerus denies the allegations in paragraph 76.
17
              77.    To finance the purchase, the Plan entered into a $207,574,000 term
18
        loan agreement with KPC. The remaining $10,000,000 was paid by a contribution
19
        of cash from KPC to the Plan.
20
              ANSWER: The allegations in paragraph 77 purport to paraphrase or
21
        characterize detailed documented financial transactions and loan agreements. To
22
        the extent that such characterizations are inconsistent with the cited transaction and
23
        loan agreements, Alerus denies the allegations in paragraph 77.
24
              78.    This purchase price for the KPC stock component of the 2015 ESOP
25
        Transaction represented a more than 419% increase over the equity value implied
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 37
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 38 of 94 Page ID #:4326



 1
        by Defendant Kali Pradip Chaudhuri’s 2013 proposed and presumed price to
 2
        acquire the company’s stock when it was known as Integrated Health.
 3
              ANSWER: Alerus denies the allegations in paragraph 78.
 4
              79.    This purchase price for the KPC stock component of the 2015 ESOP
 5
        Transaction also represented an increase of between 774% and 2,133% from the
 6
        equity value implied by the prices at which Integrated Health traded on the public
 7
        market in between April 2012 and March 2013.
 8
              ANSWER: Alerus denies the allegations in paragraph 79.
 9
              80.    This purportedly spectacular rise in KPC’s equity value is belied by
10
        KPC’s operating results. In a June 16, 2018 interview with KPC’s then-CEO
11
        Suzanne Richards, in Modern Healthcare, Ms. Richards candidly admitted that
12
        approximately three years before KPC was losing money: “When I came in, the
13
        facilities were not even close to making budget, and when you can't make budget
14
        you can't have a profit.” She further acknowledged that her tenure had been
15
        marked by “reductions in force.” Indeed, the introductory section of the interview
16
        explained that when Ms. Richards started at KPC, the four hospitals that KPC then-
17
        owned “were losing $2.5 million a month.” A June 19, 2015 article in the Orange
18
        County Business Journal, “KPC Health Names Richards CEO of Health
19
        Operations,” reported that she was named to that position as of June 2015 and had
20
        served as interim CEO since October 2014.
21
              ANSWER: Paragraph 80 purports to paraphrase, quote, and/or cite to a
22
        certain article and interview. Alerus relies on those sources to speak for
23
        themselves, rather than on Plaintiff’s characterizations thereof. To the extent that
24
        such characterizations are inconsistent with the cited sources, Alerus denies the
25
        allegations in paragraph 80. Alerus denies the remaining allegations in paragraph
26
        80.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 38
28      AMENDED COMPLAINT
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 1
              81.     As shown by the chart below, the reported equity value of the ESOP’s
 2
        KPC stock declined precipitously following the 2015 Transaction and has
 3
        remained far below the purchase price:
 4

 5

 6

 7

 8

 9

10

11

12                                    KPC Stock Value 2015‐2018
                 $250,000,000.00
13
                 $200,000,000.00
14
                 $150,000,000.00
15               $100,000,000.00

16                $50,000,000.00

17

18
19                           $‐
                                   8/28/2015   8/31/2015   8/31/2016   8/31/2017   8/31/2018
20

21            ANSWER: Alerus denies the allegations in paragraph 81.
22            82.     As explained by the Form 5500s filed with the Department of Labor,
23      the funds borrowed by the ESOP to finance the purchase of KPC are
24      “collateralized by the unallocated shares of stock and guaranteed by the
25      Company.” But “[t]he lenders have no rights against shares once they are
26      allocated under the ESOP.” As explained by the Form 5500, the financial
27      statements present separately the assets and liabilities of the stock allocated to the
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 39
28      AMENDED COMPLAINT
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 1
        accounts of participants from the assets and liabilities of the unallocated shares.
 2
        As the acquisition indebtedness is only a liability of the unallocated shares, the
 3
        acquisition debt cannot explain the post-acquisition depressed price of the
 4
        allocated shares.
 5
              ANSWER: Paragraph 82 purports to paraphrase, quote, and/or cite to
 6
        certain Form 5500s. Alerus relies on those sources to speak for themselves, rather
 7
        than on Plaintiff’s characterizations thereof. To the extent such characterizations
 8
        are inconsistent with the cited Form 5500s, Alerus denies the allegations in
 9
        paragraph 82. Alerus denies the remaining allegations in paragraph 82.
10
              83.    According to the 2015 Form 5500 filed with the Department of Labor
11
        on June 15, 2017, the purported fair market value for the KPC stock held by the
12
        ESOP was $27,600,000 as of August 31, 2015.
13
              ANSWER: Paragraph 83 purports to paraphrase and/or cite to a Form 5500.
14
        Alerus relies on the document to speak for itself, rather than on Plaintiff’s
15
        characterizations thereof. To the extent such characterizations are inconsistent
16
        with the cited Form 5500, Alerus denies the allegations in paragraph 83.
17
              84.    According to the 2015 Form 5500 filed with the Department of Labor
18
        on June 15, 2017, the purported fair market value for the KPC stock held by the
19
        ESOP was $56,000,000 as of August 31, 2016.
20
              ANSWER: Paragraph 84 purports to paraphrase and/or cite to a Form 5500.
21
        Alerus relies on the document to speak for itself, rather than on Plaintiff’s
22
        characterizations thereof. To the extent such characterizations are inconsistent
23
        with the cited Form 5500, Alerus denies the allegations in paragraph 84.
24
              85.    According to the 2016 Form 5500 filed with the Department of Labor
25
        on February 19, 2019, the purported fair market value for the KPC stock held by
26
        the ESOP was $103,000,000 as of August 31, 2017.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 40
28      AMENDED COMPLAINT
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 1
              ANSWER: Paragraph 85 purports to paraphrase and/or cite to a Form 5500.
 2
        Alerus relies on the document to speak for itself, rather than on Plaintiff’s
 3
        characterizations thereof. To the extent such characterizations are inconsistent
 4
        with the cited Form 5500, Alerus denies the allegations in paragraph 85.
 5
              86.    According to the 2017 Form 5500 filed with the Department of Labor
 6
        on February 4, 2019, the purported fair market value for the KPC stock held by the
 7
        ESOP was $123,000,000 as of August 31, 2018.
 8
              ANSWER: Paragraph 86 purports to paraphrase and/or cite to a Form 5500.
 9
        Alerus relies on the document to speak for itself, rather than on Plaintiff’s
10
        characterizations thereof. To the extent such characterizations are inconsistent
11
        with the cited Form 5500, Alerus denies the allegations in paragraph 86.
12
              87.    According to the 2018 Form 5500 filed with the Department of Labor
13
        on July 9, 2020, the purported fair market value for the KPC stock held by the
14
        ESOP was $123,500,000 as of August 31, 2019.
15
              ANSWER: The allegations in Paragraph 87 purport to paraphrase and/or
16
        cite to a certain Form 5500. Alerus relies on that source to speak for itself, rather
17
        than on Plaintiff’s characterizations thereof. To the extent that such
18
        characterizations are inconsistent with the cited Form 5500, Alerus denies the
19
        allegations in the first sentence of paragraph 87.
20
              88.    The ESOP paid more than fair market value for KPC stock in the
21
        2015 ESOP Transaction. Based on the information available prior to filing this
22
        lawsuit and information obtained in discovery, the purchase price for the 2015
23
        ESOP Transaction was based in part on a valuation report that was unreliable and
24
        did not take into account the fact that less than two years before the transaction the
25
        selling shareholder had valued the Company at less than a quarter of the sale price
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 41
28      AMENDED COMPLAINT
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 1
        and that during the intervening period the Company had experienced substantial
 2
        financial distress, instability, layoffs, and persistent inability to make budgets.
 3
              ANSWER: Alerus denies the allegations in paragraph 88.
 4
              89.    A prudent fiduciary who had conducted a prudent investigation would
 5
        have concluded that the ESOP was paying more than fair market value for the KPC
 6
        shares and/or the debt incurred in connection with the Transaction was excessive.
 7
        Defendant Kali Pradip Chaudhuri’s proposal to acquire the Company’s predecessor
 8
        in late 2013 was a matter of public record and was known or ought to have been
 9
        known to the fiduciaries of the Plan.
10
              ANSWER: Alerus denies the allegations in paragraph 89.
11
              90.    All of the Defendants would have had access to the financial
12
        information upon which the valuation for the 2015 ESOP Transaction was based
13
        and the fiduciaries for the ESOP would have had access to the valuation report
14
        itself. The valuation report was not provided to the participants of the ESOP. And
15
        the Plan Administrator refused to provide a copy of the valuation to Plaintiff
16
        pursuant to her ERISA § 104(b) request.
17
              ANSWER: Alerus lacks knowledge or information sufficient to form a
18
        belief as to the truth of the allegations in paragraph 90, and therefore denies them.
19
              91.    Based on documents filed with the Securities and Exchange
20
        Commission, Defendant SPCP Group had been an investor in Integrated Health
21
        since at least 2010 and participated in the 2014 transaction by which Dr. Chaudhuri
22
        took Integrated Healthcare private. Defendant SPCP Group was thus aware that Dr.
23
        Chaudhuri was the chairman and CEO of KPC.
24
              ANSWER: The allegations in paragraph 91 purport to paraphrase and/or
25
        cite to a certain documents filed with the Securities and Exchange Commission.
26
        Alerus relies on that source to speak for itself, rather than on Plaintiff’s
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 42
28      AMENDED COMPLAINT
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 1
        characterizations thereof. To the extent that such characterizations are inconsistent
 2
        with the cited documents, Alerus denies the allegations in the first sentence of
 3
        paragraph 91. Alerus lacks knowledge or information sufficient to form a belief as
 4
        to the truth of the allegations in the second sentence of paragraph 91, and therefore
 5
        denies them. Alerus further denies that SPCP Group has been added as a
 6
        Defendant in this case pursuant to the Court’s August 6, 2021 Order (Dkt. No.
 7
        174).
 8
                92.   Based on email correspondence between Defendant Thomas,
 9
        employees of Eureka Capital (KPC’s financial advisor for the 2015 ESOP
10
        Transaction), and Thomas Banks (an analyst with Defendant SPCP Group), SPCP
11
        Group was provided with information regarding the aggregate transaction value,
12
        the consideration paid to Defendant Kali Pradip Chaudhuri in connection with the
13
        2015 ESOP Transaction. Defendant SPCP Group thus knew that the purchase price
14
        for KPC stock in the 2015 ESOP Transaction was dramatically in excess of the
15
        equity value implied by Dr. Chaudhuri’s 2014 purchase of 100% of the outstanding
16
        stock of Integrated Health.
17
                ANSWER: Alerus lacks knowledge or information sufficient to form a
18
        belief as to the truth of the allegations in paragraph 92, and therefore denies them.
19
        Alerus denies the allegations in the first sentence of paragraph 92. Alerus further
20
        denies that SPCP Group has been added as a Defendant in this case pursuant to the
21
        Court’s August 6, 2021 Order (Dkt. No. 174).
22
                93.   Based on the Warrant Purchase Agreement entered into by Defendant
23
        SPCP Group in connection with the 2015 ESOP Transaction, SPCP Group knew
24
        both that the 2015 ESOP Transaction involved the sale of 100% of the stock of
25
        KPC to an employee stock ownership plan and that Alerus was acting on behalf of
26
        the Plan in the 2015 ESOP Transaction in its capacity as trustee.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 43
28      AMENDED COMPLAINT
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 1
              ANSWER: The allegations in paragraph 93 purport to paraphrase or
 2
        characterize detailed documented financial transactions and loan agreements. To
 3
        the extent that such characterizations are inconsistent with the cited transaction and
 4
        loan agreements, Alerus denies the allegations in paragraph 93. Alerus lacks
 5
        knowledge or information sufficient to form a belief as to the truth of the
 6
        allegations in the first sentence of paragraph 93, and therefore denies them. Alerus
 7
        further denies that SPCP Group has been added as a Defendant in this case
 8
        pursuant to the Court’s August 6, 2021 Order (Dkt. No. 174).
 9
              94.    Defendant SPCP Group participated in the negotiations leading up to
10
        the 2015 ESOP Transaction, and reviewed and commented on the terms of draft
11
        agreements and transaction terms.
12
              ANSWER: Alerus denies the allegations in paragraph 94. Alerus further
13
        denies that SPCP Group has been added as a Defendant in this case pursuant to the
14
        Court’s August 6, 2021 Order (Dkt. No. 174).
15
              95.    Even after the 2015 ESOP Transaction closed, the decline in value of
16
        the KPC stock owned by the ESOP following the 2015 Transaction should have
17
        caused Alerus as well as the ESOP Committee (which consisted of all of the
18
        Director Defendants), at a minimum, to investigate whether the ESOP had paid
19
        more than fair market value in the 2015 ESOP Transaction. To the extent that any
20
        of the fiduciary Defendants had conducted such an investigation, that investigation
21
        as well as any corrective measures would have been reported in one of the Form
22
        5500s filed with the Department of Labor. As none of the Form 5500s report any
23
        such investigation or corrective actions, none of the fiduciary Defendants
24
        investigated whether fiduciary violations had occurred in the 2015 ESOP
25
        Transaction despite red flags that should have raised concerns.
26
              ANSWER: Alerus denies the allegations in paragraph 95.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 44
28      AMENDED COMPLAINT
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 1
              Defendant Dr. Kali Pradip Chaudhuri Continues to Use the Employee
 2
              Owned Company to Benefit Insiders
 3
              96.    Despite his sale of the Company to the ESOP in 2015 and the ESOP
 4
        paying a control premium in the 2015 ESOP Transaction, Defendant Dr. Kali
 5
        Pradip Chaudhuri continues to exercise operational control over KPC both directly
 6
        and through a group of personally loyal insiders he has installed as directors and
 7
        directors of the Company. According to an information statement filed with the
 8
        California Secretary of State on March 7, 2019, Dr. Chaudhuri is the CEO of KPC
 9
        as well as the Chairman of the Board.
10
              ANSWER: The allegations in the first sentence of paragraph 96 state legal
11
        conclusions, to which no response is required. To the extent a response is required,
12
        Alerus denies them. Alerus admits that Kali Pradip Chaudhuri currently serves as
13
        the Chairman and Chief Executive Officer of KPC Healthcare, Inc. Alerus lacks
14
        knowledge or information sufficient to form a belief as to what Plaintiff’s use of
15
        the phrase “information statement” refers to and therefore denies this allegation.
16
        Alerus denies the remaining allegations in paragraph 96.
17
              97.    According to an information statement filed with the California
18
        Secretary of State on March 7, 2019, William E. Thomas is the secretary of and a
19
        member of the Board of Directors of KPC. According to a News Release by
20
        University of California Riverside dated June 8, 2018, Defendant Thomas is the
21
        Executive Vice-President and General Counsel of the KPC Group of Companies.
22
        According to information from the California Bar website directory of lawyers,
23
        Defendant Thomas lists his business address as the headquarters for KPC Group.
24
        Even before joining KPC Group, Defendant Thomas was Dr. Chaudhuri’s attorney.
25
              ANSWER: Alerus admits that William E. Thomas is currently the
26
        corporate secretary and a member of the Board of Directors of KPC Healthcare,
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 45
28      AMENDED COMPLAINT
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 1
        Inc. Alerus lacks knowledge or information sufficient to form a belief as to what
 2
        Plaintiff’s use of the phrase “information statement” refers to and therefore denies
 3
        this allegation. The allegations in the second and third sentences of paragraph 79
 4
        purport to paraphrase and/or cite to a certain news release and a website. Alerus
 5
        relies on those sources to speak for themselves, rather than on Plaintiff’s
 6
        characterizations thereof. To the extent such characterizations are inconsistent
 7
        with the cited sources, Alerus denies the allegations in the second and third
 8
        sentences of paragraph 97. Alerus lacks knowledge or information sufficient to
 9
        form a belief as to the truth of the allegations in the fourth sentence of paragraph
10
        97, and therefore denies them. Alerus denies the remaining allegations of
11
        paragraph 97.
12
              98.    According to an information statement filed with the California
13
        Secretary of State on March 7, 2019, Defendant Kali Priyo Chaudhuri is the chief
14
        financial officer and a director of the Company. Defendant Kali Priyo Chaudhuri
15
        is Defendant Kali Pradip Chaudhuri’s son.
16
              ANSWER: The first sentence of paragraph 98purports to paraphrase and/or
17
        cite to a certain statements filed with the California Secretary of State. Alerus
18
        relies on those sources to speak for themselves, rather than on Plaintiff’s
19
        characterizations thereof. To the extent such characterizations are inaccurate,
20
        Alerus denies the allegations in paragraph 98. Alerus lacks knowledge or
21
        information sufficient to form a belief as to the truth of the remaining allegations in
22
        paragraph 98 and therefore denies them.
23
              99.    Together, Defendant Kali Pradip Chaudhuri, his lawyer, and his son
24
        constitute a majority bloc of the five person board of directors of KPC.
25

26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 46
28      AMENDED COMPLAINT
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 1
              ANSWER: Paragraph 99 states a legal conclusion to which no response is
 2
        required. To the extent a response is required, Alerus denies the allegations in
 3
        paragraph 99.
 4
              100. According to a press release issued by “KPC Health” on December 4,
 5
        2018, on that date Dr. Sumanta Chaudhuri was appointed the Chief Medical
 6
        Officer for Hemet Valley Medical Center and Menifee Valley Medical Center, two
 7
        of the hospitals affiliated with KPC. According to a video posted to YouTube by
 8
        Defendant Kali Pradip Chaudhuri on January 8, 2018, Dr. Sumanta Chaudhuri is
 9
        the Defendant’s daughter.
10
              ANSWER: Paragraph 100 purports to paraphrase and/or cite to a certain
11
        press release and YouTube video. Alerus relies on those sources to speak for
12
        themselves, rather than on Plaintiff’s characterizations thereof. To the extent such
13
        characterizations are inaccurate, Alerus denies the allegations in paragraph 100.
14
              101. According to an undated press release issued by “KPC Health,” KPC
15
        is a “subsidiary” of KPC Group. KPC Group is Defendant Kali Pradip
16
        Chaudhuri’s $10 billion conglomerate with interests in real state, pharmaceuticals,
17
        and engineering as well as healthcare. Upon information and belief, KPC is simply
18
        treated as one of the group of companies that KPC Group owns.
19
              ANSWER: Paragraph 101 purports to paraphrase and/or cite to a certain
20
        press release. Alerus relies on that source to speak for itself, rather than on
21
        Plaintiff’s characterizations thereof. To the extent such characterizations are
22
        inaccurate, Alerus denies the allegations in paragraph 101. Alerus lacks
23
        knowledge or information sufficient to form a belief as to the truth of the
24
        remaining allegations in paragraph 101 and therefore denies them.
25
              Relevant Provisions of the Plan Document
26
              Definitions
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 47
28      AMENDED COMPLAINT
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 1
              102. Article I of the Plan Document defines the following terms as follows:
 2
                      a.     ESOP Committee: “ESOP Committee” means the KPC
 3
              Healthcare Holdings, Inc. Employee Stock Ownership Plan Committee,
 4
              which members are appointed by the Board, as from time to time
 5
              constituted.
 6
                      b.     Fiduciary: “Fiduciary” means any person who: (a) exercises
 7
              any discretionary authority or discretionary control and management of this
 8
              Plan or exercises any authority or control and management or disposition of
 9
              Plan assets; (b) renders investment advice for a fee or other compensation,
10
              direct or indirect, with respect to any monies or other property of the Trust
11
              or has any authority or responsibility to do so; or (c) has any discretionary
12
              authority or discretionary responsibility in the management of this Plan and
13
              the Trust, including, but not limited to, the Trustee, the ESOP Committee,
14
              and any person designated under ERISA Section 405(c)(1)(B).
15
                      c.     Plan Administrator: “Plan Administrator” is the ESOP
16
              Committee unless the Company designates another person or persons to hold
17
              the position of Plan Administrator. In addition to its other duties, the Plan
18
              Administrator has full responsibility for compliance with the reporting and
19
              disclosure rules under ERISA.
20
                      d.     Trust: “Trust” means the KPC Healthcare, Inc. Stock
21
              Ownership Trust which is and becomes a part of this Plan.
22
                      e.     Trustee: “Trustee” means the trustee or trustees acting at the
23
              time in question under the Trust, and its or his or her or their successor(s) as
24
              such.
25
              ANSWER: Paragraph 102 purports to paraphrase, quote, and/or cite to Plan
26
        provisions. Alerus relies on those provisions to speak for themselves, rather than
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 48
28      AMENDED COMPLAINT
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 1
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
 2
        inaccurate, Alerus denies the allegations in paragraph 102.
 3
              103. Section 11.15 of the Plan Document provides that the “Named
 4
        Fiduciaries” of this Plan are (1) the Trustee, (2) the ESOP Committee, (3) the
 5
        Appeal Committee (if appointed), and (4) any Investment Manager appointed
 6
        hereunder.
 7
              ANSWER: Paragraph 103 purports to paraphrase, quote, and/or cite to Plan
 8
        provisions. Alerus relies on those provisions to speak for themselves, rather than
 9
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
10
        inaccurate, Alerus denies the allegations in paragraph 103.
11
              The ESOP Committee
12
              104. Section 9.1 of the Plan Document provides that “the Company [i.e.
13
        KPC] may appoint an ESOP Committee to administer the Plan. In the absence of
14
        an ESOP Committee, the Board of Directors assumes the powers, duties and
15
        responsibilities of the ESOP Committee.”
16
              ANSWER: Paragraph 104 purports to paraphrase, quote, and/or cite to Plan
17
        provisions. Alerus relies on those provisions to speak for themselves, rather than
18
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
19
        inaccurate, Alerus denies the allegations in paragraph 104.
20
              105. Section 9.3 of the Plan Document provides that “the ESOP Committee
21
        is empowered to assist the Trustee to satisfy and operate this Plan in accordance
22
        with the terms of this Plan, the Trust, the Code, and ERISA.”
23
              ANSWER: Paragraph 105 purports to paraphrase, quote, and/or cite to Plan
24
        provisions. Alerus relies on those provisions to speak for themselves, rather than
25
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
26
        inaccurate, Alerus denies the allegations in paragraph 105.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 49
28      AMENDED COMPLAINT
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 1
              106. Section 9.4 of the Plan Document provides that the ESOP Committee
 2
        has full discretion and authority to perform the following powers and duties,
 3
        among others:
 4
                     a.    To engage the service of agents whom it may deem advisable to
 5
                           assist it with the performance of its duties.
 6
                     b.    To engage the services of an Investment Manager or Managers
 7
                           (as defined in ERISA Section 3(38) each of whom will have
 8
                           full power and authority to manage, acquire or dispose (or
 9
                           direct the Trustee with respect to acquisition or disposition) of
10
                           any Plan asset under its control.
11
                     c.    To construe and interpret this Plan and the rules and regulations
12
                           adopted and to answer all questions arising in the
13
                           administration interpretation and application of this Plan
14
                           document and documents related to this Plan’s operation.
15
                     d.    To establish procedures, correct any defect, and resolve any
16
                           inconsistency in such manner and to such extent as shall be
17
                           necessary or advisable to carry out the purpose of this Plan.
18
              ANSWER: Paragraph 106 purports to paraphrase and/or cite to Plan
19
        provisions. Alerus relies on those provisions to speak for themselves, rather than
20
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
21
        inaccurate, Alerus denies the allegations in paragraph 106.
22
              107. Section 9.6 of the Plan Document provides that “the decision of a
23
        majority of the members of the ESOP Committee appointed and qualified
24
        controls.”
25
              ANSWER: Paragraph 107 purports to paraphrase, quote, and/or cite to Plan
26
        provisions. Alerus relies on those provisions to speak for themselves, rather than
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 50
28      AMENDED COMPLAINT
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 1
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
 2
        inaccurate, Alerus denies the allegations in paragraph 107.
 3
              Trustee
 4
              108. Section 11.15 of the Plan Document provides that “[t]he ESOP
 5
        Committee shall have the sole responsibility for the administration of this Plan”
 6
              ANSWER: Paragraph 108 purports to paraphrase, quote, and/or cite to Plan
 7
        provisions. Alerus relies on those provisions to speak for themselves, rather than
 8
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
 9
        inaccurate, Alerus denies the allegations in paragraph 108.
10
              109. Section 11.15 of the Plan Document provides that the Trustee shall
11
        have the sole responsibility to, among other things, “determine that the purchase
12
        price paid to purchase Qualifying Employer Securities does not violate the
13
        prohibited transaction rules....”
14
              ANSWER: Paragraph 109 purports to paraphrase, quote, and/or cite to Plan
15
        provisions. Alerus relies on those provisions to speak for themselves, rather than
16
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
17
        inaccurate, Alerus denies the allegations in paragraph 109.
18
              Relevant Provisions of the Trust Agreement
19
              110. Section 2.2 of the Trust Agreement provides that the Trustee “is the
20
        sole discretionary fiduciary with respect to borrowing money with respect to the
21
        purpose of purchasing Employer Securities and for the purchase or sale of
22
        Employer Securities.”
23
              ANSWER: Paragraph 110 purports to paraphrase, quote, and/or cite to
24
        Trust provisions. Alerus relies on those provisions to speak for themselves, rather
25
        than on Plaintiff’s characterizations thereof. To the extent such characterizations
26
        are inaccurate, Alerus denies the allegations in paragraph 110.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 51
28      AMENDED COMPLAINT
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 1
              111. Section 2.4(a) of the Trust Agreement provides that the Trustee has
 2
        “full discretion and authority. to invest the Trust Fund primarily in Employer
 3
        Securities (provided the Trustee does not pay in excess of “Adequate
 4
        consideration” and such purchase of Employer Securities would not otherwise
 5
        constitute a “prohibited transaction” as such terms are defined by ERISA and the
 6
        Code) ”
 7
              ANSWER: Paragraph 111 purports to paraphrase, quote, and/or cite to Trust
 8
        provisions. Alerus relies on those provisions to speak for themselves, rather than
 9
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
10
        inaccurate, Alerus denies the allegations in paragraph 111.
11
              112. Section 6.4 of the Trust Agreement provides that the Company shall
12
        fill any vacancy in the office of Trustee.
13
              ANSWER: Paragraph 112 purports to paraphrase and/or cite to Trust
14
        provisions. Alerus relies on those provisions to speak for themselves, rather than
15
        on Plaintiff’s characterizations thereof. To the extent such characterizations are
16
        inaccurate, Alerus denies the allegations in paragraph 112.
17

18
                                              COUNT I
19
        Engaging in Prohibited Transaction Forbidden by ERISA §§ 406(a), 29 U.S.C.
20
           §§ 1106(a), Against Defendants Alerus, Dr. Kali Pradip Chaudhuri, and
21
                                          William Thomas
22
              113. Plaintiff incorporates the preceding paragraphs as though set forth
23
        herein.
24
              ANSWER: Alerus incorporates its answers as though set forth herein.
25
              114. ERISA § 406(a)(1), 29 U.S.C. § 1106(a)(1), requires that a plan
26
        fiduciary “shall not cause the plan to engage in a transaction, if he knows or should
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 52
28      AMENDED COMPLAINT
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 1
        know that such transaction constitutes a direct or indirect (A) sale or exchange, or
 2
        leasing of any property between the plan and a party in interest,” or a “(D) transfer
 3
        to, or use by or for the benefit of, a party in interest, of any assets of the plan.”
 4
              ANSWER: Paragraph 114 purports to paraphrase, quote, and/or cite to
 5
        certain ERISA provisions. Alerus relies on those provisions to speak for
 6
        themselves, rather than on Plaintiff’s characterizations thereof. To the extent that
 7
        characterization is inconsistent with the provisions of ERISA, Alerus denies the
 8
        allegations in paragraph 114.
 9
              115. ERISA § 3(14), 29 U.S.C. § 1002(14) defines a “party in interest” to
10
        include (A) any fiduciary ... of such employee benefit plan”, (E) a relative -¬which
11
        includes a spouse, ancestor, lineal descendant or the spouse of a lineal descendant -
12
        - of a fiduciary, (G) a trust of or in which 50 percent or more the beneficial interest
13
        of such trust is held by a fiduciary of such plan, and (H) an employee, officer or
14
        director or a 10 percent or more shareholder of an employer covered by the Plan.
15
              ANSWER: Paragraph 115 purports to paraphrase, quote, and/or cite to
16
        certain ERISA provisions. Alerus relies on those provisions to speak for
17
        themselves, rather than on Plaintiff’s characterizations thereof. To the extent that
18
        characterization is inconsistent with the provisions of ERISA, Alerus denies the
19
        allegations in paragraph 115. The allegations in the second sentence of paragraph
20
        115 state legal conclusions, to which no response is required. To the extent a
21
        response is required, Alerus denies the allegations in the second sentence of
22
        paragraph 115.
23
              116. At least as a result of being a fiduciary of the ESOP, and as a result of
24
        being an officer of and director of KPC, Defendant Dr. Kali Pradip Chaudhuri
25
        qualified as a party in interest within the meaning of ERISA § 3(14).
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 53
28      AMENDED COMPLAINT
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 1
               ANSWER: The allegations in paragraph 116 state legal conclusions, to
 2
        which no response is required. To the extent a response is required, Alerus denies
 3
        the allegations in the second sentence of paragraph 116.
 4
               117. At least as a result of being a fiduciary of the ESOP, and as a result of
 5
        being an officer of and director of KPC, Defendant Thomas qualified as a party in
 6
        interest within the meaning of ERISA § 3(14).
 7
               ANSWER: The allegations in paragraph 117 state legal conclusions, to
 8
        which no response is required. To the extent a response is required, Alerus denies
 9
        the allegations in the second sentence of paragraph 117.
10
               118. ERISA § 408(e), 29 U.S.C. § 1108(e) provides a conditional
11
        exemption from the prohibited transaction rules for sale of employer securities to
12
        or from a plan if a sale is made for adequate consideration. The burden is on the
13
        fiduciary and the parties-in-interest to demonstrate that conditions for the
14
        exemption are met.
15
               ANSWER: Paragraph 118 purports to paraphrase and/or cite to certain
16
        ERISA provisions. Alerus relies on those provisions to speak for themselves,
17
        rather than on Plaintiff’s characterizations thereof. Paragraph 98 further states
18
        legal conclusions, to which no response is required. To the extent a response is
19
        required, Alerus denies the allegations in paragraph 118.
20
               119. ERISA § 3(18)(B) defines adequate consideration as “the fair market
21
        of the asset as determined in good faith by the trustee or named fiduciary.” ERISA
22
        § 3(18)(B) requires that the fiduciary or party-in-interest show that the price paid
23
        must reflect the fair market value of the asset at the time of the transaction, and the
24
        fiduciary conducted a prudent investigation to determine the fair market value of
25
        the asset.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 54
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 55 of 94 Page ID #:4343



 1
              ANSWER: Paragraph 119 purports to paraphrase, quote, and/or cite to
 2
        certain ERISA provisions. Alerus relies on those provisions to speak for
 3
        themselves, rather than on Plaintiff’s characterizations thereof. Paragraph 119
 4
        further states legal conclusions, to which no response is required. To the extent a
 5
        response is required, Alerus denies the allegations in paragraph 119.
 6
              120. As Trustee, Alerus caused the Plan to engage in a prohibited
 7
        transaction in violation of ERISA §§ 406(a)(1)(A) and (D), 29 U.S.C. §§
 8
        1106(a)(1)(A) and (D), by failing to ensure that the ESOP paid no more than fair
 9
        market value for KPC stock purchased in the 2015 ESOP Transaction.
10
        Specifically, the ESOP paid more than fair market value for shares sold by
11
        Defendant Kali Pradip Chaudhuri.
12
              ANSWER: Alerus denies the allegations in paragraph 120.
13
              121. As an officer and director of KPC, a fiduciary of the ESOP in the
14
        2015 ESOP Transaction, and as the purchaser of Integrated Health, the selling
15
        shareholder of KPC in the 2015 ESOP Transaction, Defendant Kali Pradip
16
        Chaudhuri was aware of facts sufficient to establish that the 2015 ESOP
17
        Transaction constituted a prohibited transaction with parties-in-interest. As a party
18
        in interest, Defendant Kali Pradip Chaudhuri is liable for the violations of ERISA §
19
        406(a)(1)(A) and (D), 29 U.S.C. § 1106(a)(1)(A) and (D).
20
              ANSWER: Paragraph 121 states legal conclusions, to which no response is
21
        required. To the extent a response is required, Alerus denies the allegations in
22
        paragraph 121.
23
              122. As an officer and director of KPC, a fiduciary of the ESOP in the2015
24
        ESOP Transaction, and as a seller of warrants to KPC as part of the 2015 ESOP
25
        Transaction, Defendant William Thomas was aware of facts sufficient to establish
26
        that the 2015 ESOP Transaction constituted a prohibited transaction with parties-in
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 55
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 56 of 94 Page ID #:4344



 1
        interest. As a party in interest, Defendant William Thomas is liable for the
 2
        violations of ERISA § 406(a)(1)(A) and (D), 29 U.S.C. § 1106(a)(1)(A) and (D).
 3
              ANSWER: Paragraph 122 states legal conclusions, to which no response is
 4
        required. To the extent a response is required, Alerus denies the allegations in
 5
        paragraph 122.
 6

 7
                                              COUNT II
 8
           Engaging in Prohibited Transaction Forbidden by ERISA §§ 406(b), 29
 9
          U.S.C. §§ 1106(a)-(b), Against Dr. Defendants Kali Pradip Chaudhuri and
10
                                           William Thomas
11
              123. Plaintiff incorporates the preceding paragraphs as though set forth
12
        herein.
13
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
14
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
15
        Answer to respond to the allegations contained in Count II as required by the Court
16
        and/or the Federal Rules of Civil Procedure.
17
              124. ERISA § 406(b), 29 U.S.C. § 1106(b), mandates that a plan fiduciary
18
        shall not (1) “act in any transaction involving the plan on behalf of a party (or
19
        represent a party) whose interests are adverse to the interests of the plan or the
20
        interests of its participants,” or (2) “deal with the assets of the plan in his own
21
        interest or for his own account,” or (3) “receive any consideration for his own
22
        personal account from any party dealing with such plan in connection with a
23
        transaction involving the assets of the plan.”
24
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
25
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 56
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 57 of 94 Page ID #:4345



 1
        Answer to respond to the allegations contained in Count II as required by the Court
 2
        and/or the Federal Rules of Civil Procedure.
 3
              125. As chairman of the Board of Directors of KPC and in turn a member
 4
        of the ESOP Committee, Defendant Kali Pradip Chaudhuri was a fiduciary of the
 5
        ESOP at the time of the 2015 ESOP Transaction.
 6
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
 7
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
 8
        Answer to respond to the allegations contained in Count II as required by the Court
 9
        and/or the Federal Rules of Civil Procedure.
10
              126. As a member of the Board of Directors of KPC and in turn a member
11
        of the ESOP Committee, Defendant Thomas was a fiduciary of the ESOP at the
12
        time of the 2015 ESOP Transaction.
13
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
14
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
15
        Answer to respond to the allegations contained in Count II as required by the Court
16
        and/or the Federal Rules of Civil Procedure.
17
              127. By selling his shares of KPC stock to the Plan in the 2015 ESOP
18
        Transaction, Dr. Chaudhuri acted in a transaction involving a plan where his own
19
        interests were adverse to those of the ESOP within the meaning of ERISA §
20
        406(b)(1), he dealt with the assets of the Plan, which purchased his KPC stock, in
21
        his own interest within the meaning of ERISA § 406(b)(2), and as a result of the
22
        receipt of the proceeds from the sale of his KPC stock received consideration for
23
        the his own personal account in connection with a transaction involving assets of a
24
        plan within the meaning of ERISA § 406(b)(3).
25
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
26
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 57
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 58 of 94 Page ID #:4346



 1
        Answer to respond to the allegations contained in Count II as required by the Court
 2
        and/or the Federal Rules of Civil Procedure.
 3
              128. ERISA § 408(e), 29 U.S.C. § 1108(e) provides a conditional
 4
        exemption from the prohibited transaction rules for sale of employer securities to
 5
        or from a plan if a sale is made for adequate consideration. The burden is on the
 6
        fiduciary to demonstrate that conditions for the exemption are met.
 7
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
 8
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
 9
        Answer to respond to the allegations contained in Count II as required by the Court
10
        and/or the Federal Rules of Civil Procedure.
11
              129. ERISA § 3(18)(B) defines adequate consideration as “the fair market
12
        of the asset as determined in good faith by the trustee or named fiduciary.” ERISA
13
        § 3(18)(B) requires that the price paid must reflect the fair market value of the
14
        asset, and the fiduciary must conduct a prudent investigation to determine the fair
15
        market value of the asset.
16
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
17
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
18
        Answer to respond to the allegations contained in Count II as required by the Court
19
        and/or the Federal Rules of Civil Procedure.
20
              130. By selling his shares of KPC stock to the KPC ESOP in the 2015
21
        ESOP Transaction, Defendant Kali Pradip Chaudhuri engaged in a prohibited
22
        transaction in violation of ERISA §§ 406(b), 29 U.S.C. §§ 1106(b) for which he is
23
        liable to restore the losses caused by these prohibited transactions, to disgorge
24
        profits or other appropriate remedial and equitable relief.
25
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
26
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 58
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 59 of 94 Page ID #:4347



 1
        Answer to respond to the allegations contained in Count II as required by the Court
 2
        and/or the Federal Rules of Civil Procedure.
 3
              131. By selling his warrants to purchase KPC stock to KPC in the 2015
 4
        ESOP Transaction, Defendant William Thomas received consideration for his own
 5
        personal account from a party dealing with the ESOP in connection with a
 6
        transaction involving the assets of the ESOP in violation of ERISA §§ 406(b)(3),
 7
        29 U.S.C. §§ 1106(b)(3), for which he is liable to restore the losses caused by these
 8
        prohibited transactions, to disgorge profits or other appropriate remedial and
 9
        equitable relief.
10
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
11
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
12
        Answer to respond to the allegations contained in Count II as required by the Court
13
        and/or the Federal Rules of Civil Procedure.
14
              132. As an officer and director of KPC, a fiduciary of the ESOP in the
15
        2015 ESOP Transaction, as the purchaser of Integrated Health, and as the selling
16
        shareholder of KPC in the 2015 ESOP Transaction, Defendant Dr. Kali Pradip
17
        Chaudhuri was aware of facts sufficient to establish that the 2015 ESOP
18
        Transaction constituted a prohibited transaction with a Plan fiduciary, Mr. Thomas.
19
        As a party in interest, Defendant Kali Pradip Chaudhuri is liable for the violations
20
        of ERISA § 406(b), 29 U.S.C. § 1106(b), and/or is subject to appropriate equitable
21
        relief for the violations of ERISA § 406(b), 29 U.S.C. § 1106(b).
22
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
23
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
24
        Answer to respond to the allegations contained in Count II as required by the Court
25
        and/or the Federal Rules of Civil Procedure.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 59
28      AMENDED COMPLAINT
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 1
              133. As an officer and director of KPC, a fiduciary of the ESOP in the
 2
        2015 ESOP Transaction, and as a seller of warrants to KPC as part of the 2015
 3
        ESOP Transaction, Defendant William Thomas was aware of facts sufficient to
 4
        establish that the 2015 ESOP Transaction constituted a prohibited transaction with
 5
        a Plan fiduciary, Dr. Chaudhuri. As a party in interest, Defendant William Thomas
 6
        is liable for the violations of ERISA § 406(b), 29 U.S.C. § 1106(b), and/or is
 7
        subject to appropriate equitable relief for the violations of ERISA § 406(b), 29
 8
        U.S.C. § 1106(b).
 9
              ANSWER: Count II is brought solely against Kali Pradip Chaudhuri;
10
        therefore, Alerus is not required to answer. Alerus reserves the right to amend this
11
        Answer to respond to the allegations contained in Count II as required by the Court
12
        and/or the Federal Rules of Civil Procedure.
13
                                             COUNT III
14
        Breach of Fiduciary Duty Under ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§
15
         1104(a)(1)(A) and (B) Against Defendant Alerus, and Knowing Participation
16
        in Such Breaches by Defendants Kali Pradip Chaudhuri and William Thomas
17
              134. Plaintiff incorporates the preceding paragraphs as though set forth
18
        herein.
19
              ANSWER: Alerus incorporates its answers as though set forth herein.
20
              135. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan
21
        fiduciary discharge his or her duties with respect to a plan solely in the interest of
22
        the participants and beneficiaries, (A) for the exclusive purpose of providing
23
        benefits to participants and the beneficiaries of the plan, (B) with the care, skill,
24
        prudence, and diligence under the circumstances then prevailing that a prudent
25
        person acting in a like capacity and familiar with such matters would use in the
26
        conduct of an enterprise of a like character and with like aims.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 60
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 61 of 94 Page ID #:4349



 1
              ANSWER: Paragraph 135 purports to paraphrase and/or cite to certain
 2
        ERISA provisions. Alerus relies on those provisions to speak for themselves,
 3
        rather than on Plaintiff’s characterizations thereof. To the extent that
 4
        characterization is inconsistent with the provisions of ERISA, Alerus denies the
 5
        allegations in paragraph 135.
 6
              136. In the context of a transaction involving the assets of the Plan, the
 7
        duties of loyalty under ERISA § 404(a)(1)(A) and prudence under ERISA §
 8
        404(a)(1)(B) require a fiduciary to undertake an appropriate investigation to
 9
        determine that the plan and its participants receives adequate consideration for the
10
        plan’s assets and the participants’ account in the plan.
11
              ANSWER: Paragraph 136 purports to paraphrase and/or cite to certain
12
        ERISA provisions. Alerus relies on those provisions to speak for themselves,
13
        rather than on Plaintiff’s characterizations thereof. Paragraph 136 further states
14
        legal conclusions, to which no response is required. To the extent a response is
15
        required, Alerus denies the allegations in paragraph 136.
16
              137. Pursuant to ERISA § 3(18), adequate consideration for an asset for
17
        which there is no generally recognized market means the fair market value of the
18
        asset determined in good faith by the trustee or named fiduciary pursuant to the
19
        terms of the plan and in accordance with the Department of Labor regulations.
20
              ANSWER: Paragraph 137 purports to paraphrase and/or cite to certain
21
        ERISA provisions. Alerus relies on those provisions to speak for themselves,
22
        rather than on Plaintiff’s characterizations thereof. Paragraph 137 further states
23
        legal conclusions, to which no response is required. To the extent a response is
24
        required, Alerus denies the allegations in paragraph 137.
25
              138. To fulfill its fiduciary duties, Alerus was required to undertake an
26
        appropriate and independent investigation of the fair market value of KPC stock in
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 61
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 62 of 94 Page ID #:4350



 1
        the 2015 ESOP Transaction in order to fulfill its fiduciary duties. Among other
 2
        things, Alerus was required to conduct a thorough and independent review of any
 3
        “independent appraisal,” to make certain that reliance on any and all valuation
 4
        experts’ advice was reasonably justified under the circumstances of the 2015 ESOP
 5
        Transaction; to make an honest, objective effort to read and understand the
 6
        valuation reports and opinions and question the methods and assumptions that did
 7
        not make sense.
 8
              ANSWER: Paragraph 138 states legal conclusions, to which no response is
 9
        required. To the extent a response is required, Alerus denies the allegations in
10
        paragraph 138.
11
              139. An appropriate investigation would have revealed that the valuations
12
        used for and the price paid by the ESOP in the 2015 ESOP Transaction did not
13
        reflect the fair market value of the KPC stock purchased by the Plan, the 2015
14
        ESOP Transaction was not in the best interests of the Plan participants and the
15
        2015 ESOP Transaction would cause the ESOP to take on excessive debt.
16
              ANSWER: Alerus denies the allegations in paragraph 139.
17
              140. Additionally, Alerus was required to remedy the ESOP’s overpayment
18
        for KPC stock after the date of the 2015 ESOP Transaction, including as necessary
19
        correcting the prohibited transaction by seeking the overpayment from Defendant
20
        Kali Pradip Chaudhuri and/or the breaching Trustee.
21
              ANSWER: Alerus denies the allegations in paragraph 140.
22
              141. By causing the ESOP to engage in the 2015 Transaction and failing to
23
        correct the 2015 ESOP Transaction, Alerus breached its fiduciary duties under
24
        ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A), (B) and caused losses
25
        to the Plan and the accounts of the Class Members.
26
              ANSWER: Alerus denies the allegations in paragraph 141.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 62
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 63 of 94 Page ID #:4351



 1
              142. As an officer and director of KPC, a fiduciary of the ESOP in the
 2
        2015 ESOP Transaction, and as the purchaser of Integrated Health, the selling
 3
        shareholder of KPC in the 2015 ESOP Transaction, Defendant Kali Pradip
 4
        Chaudhuri was aware of sufficient facts that Alerus causing the ESOP to engage in
 5
        the 2015 ESOP Transaction constituted a breach of fiduciary duty. As a party in
 6
        interest who knowingly participated in the 2015 ESOP Transaction, Defendant Dr.
 7
        Chaudhuri is liable for the violations of ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1)
 8
        and/or is subject to appropriate equitable relief for the violations of ERISA §
 9
        404(a)(1), 29 U.S.C. § 1104(a)(1).
10
              ANSWER: The allegations in paragraph 142 state legal conclusions, to
11
        which no response is required. To the extent a response is required, Alerus denies
12
        the allegations in paragraph 142.
13
              143. As an officer and director of KPC, a fiduciary of the ESOP in the
14
        2015 ESOP Transaction, and as a seller of warrants to KPC as part of the 2015
15
        ESOP Transaction, Defendant Thomas was aware of sufficient facts that Alerus
16
        causing the ESOP to engage in the 2015 ESOP Transaction constituted a breach of
17
        fiduciary duty. As a party in interest who knowingly participated in the 2015 ESOP
18
        Transaction, Defendant Thomas is liable for the violations of ERISA § 404(a)(1),
19
        29 U.S.C. § 1104(a)(1) and/or is subject to appropriate equitable relief for the
20
        violations of ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1).
21
              ANSWER: The allegations in paragraph 143 state legal conclusions, to
22
        which no response is required. To the extent a response is required, Alerus denies
23
        the allegations of paragraph 143.
24

25
                                             COUNT IV
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 63
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 64 of 94 Page ID #:4352



 1
         Failure to Disclose Information Required by ERISA § 102, 29 U.S.C. § 1022
 2
             Against the ESOP Committee Defendants as the Plan Administrator
 3
              144. Plaintiff incorporates the preceding paragraphs as though set forth
 4
        herein.
 5
              ANSWER: Count IV is brought solely against the ESOP Committee
 6
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 7
        to amend this Answer to respond to the allegations contained in Count IV as
 8
        required by the Court and/or the Federal Rules of Civil Procedure.
 9
              145. As the Plan Administrator within the meaning of ERISA § 3(16)(A),
10
        29 U.S.C. § 1002(16)(A), the ESOP Committee Defendants were obligated to
11
        comply with ERISA §§ 102 and 104(b), 29 U.S.C. § 1022 and 1024(b).
12
              ANSWER: Count IV is brought solely against the ESOP Committee
13
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
14
        to amend this Answer to respond to the allegations contained in Count IV as
15
        required by the Court and/or the Federal Rules of Civil Procedure.
16
              146. ERISA § 102, 29 U.S.C. § 1022 mandates that an SPD “be furnished
17
        to participants and beneficiaries as provided in [ERISA 104(b), 29 U.S.C. §]
18
        1024(b)” and include the information set forth in ERISA § 102(a) & (b), 29 U.S.C.
19
        § 1022(a) & (b). The DOL Regulation, 29 C.F.R. § 2520.102-3, governing the
20
        “contents of the summary plan description,” requires that “the summary plan
21
        description must accurately reflect the contents of the plans” and sets forth specific
22
        information that must be required in the SPD.
23
              ANSWER: Count IV is brought solely against the ESOP Committee
24
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
25
        to amend this Answer to respond to the allegations contained in Count IV as
26
        required by the Court and/or the Federal Rules of Civil Procedure.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 64
28      AMENDED COMPLAINT
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 1
              147. Pursuant to ERISA § 104(b)(1), 29 U.S.C. § 1024(b)(1) the Plan
 2
        Administrator was required to furnish a current version of the SPD and any
 3
        modifications and changes (A) to new participants within 90 days after that person
 4
        became a participant and (B) to every participant in the Plan with an updated copy
 5
        of an SPD to extent that there had been changes within the last 5 years concerning
 6
        information described in 29 U.S.C. § 1022.
 7
              ANSWER: Count IV is brought solely against the ESOP Committee
 8
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 9
        to amend this Answer to respond to the allegations contained in Count IV as
10
        required by the Court and/or the Federal Rules of Civil Procedure.
11
              148. As the Plan Administrator within the meaning of ERISA § 3(16)(A),
12
        29 U.S.C. § 1002(16)(A) and a named fiduciary within the meaning of ERISA §
13
        402(a), 29 U.S.C. § 1102(a), the ESOP Committee Defendants had fiduciary duties
14
        pursuant to ERISA § 404(a), 29 U.S.C. § 1104(a).
15
              ANSWER: Count IV is brought solely against the ESOP Committee
16
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
17
        to amend this Answer to respond to the allegations contained in Count IV as
18
        required by the Court and/or the Federal Rules of Civil Procedure.
19
              149. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan
20
        fiduciary discharge his or her duties with respect to a plan solely in the interest of
21
        the participants and beneficiaries and (A) for the exclusive purpose of (i) providing
22
        benefits to participants and their beneficiaries; and .... (B) with “care, skill,
23
        prudence, and diligence.”
24
              ANSWER: Count IV is brought solely against the ESOP Committee
25
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 65
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 66 of 94 Page ID #:4354



 1
        to amend this Answer to respond to the allegations contained in Count IV as
 2
        required by the Court and/or the Federal Rules of Civil Procedure.
 3
              150. An ERISA fiduciary’s duty of loyalty and prudence under ERISA §
 4
        404(a)(1)(A) and (B) includes a duty to disclose and inform. Those duties not only
 5
        require that a fiduciary comply the specific disclosure provisions in ERISA, but
 6
        also require (a) a duty not to misinform, (b) an affirmative duty to inform when the
 7
        fiduciary knows or should know that silence might be harmful, and (c) a duty to
 8
        convey complete and accurate information material to the circumstances of the
 9
        participants and beneficiaries.
10
              ANSWER: Count IV is brought solely against the ESOP Committee
11
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
12
        to amend this Answer to respond to the allegations contained in Count IV as
13
        required by the Court and/or the Federal Rules of Civil Procedure.
14
              151. The Ninth Circuit has recognized that a participant in an ERISA plan
15
        is entitled to know exactly where he stands with respect to the plan, including the
16
        benefits to which he or she may be entitled, the circumstances which may preclude
17
        him from obtaining benefits, what procedures he must follow to obtain benefits,
18
        and who are the persons to whom the management and investment of his plan
19
        funds have been entrusted.
20
              ANSWER: Count IV is brought solely against the ESOP Committee
21
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
22
        to amend this Answer to respond to the allegations contained in Count IV as
23
        required by the Court and/or the Federal Rules of Civil Procedure.
24
              152. The ESOP’s Summary Plan Description dated September 1, 2017 (the
25
        “2017 SPD”) is most recent SPD distributed to participants and the one provided in
26
        response to Plaintiff’s ERISA § 104(b) request in February 2019.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 66
28      AMENDED COMPLAINT
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 1
              ANSWER: Count IV is brought solely against the ESOP Committee
 2
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 3
        to amend this Answer to respond to the allegations contained in Count IV as
 4
        required by the Court and/or the Federal Rules of Civil Procedure.
 5
              153. ERISA § 102(b), 29 U.S.C. § 1022(B) mandates that an SPD identify
 6
        “the name and address of the administrator” of the Plan. 29 C.F.R. § 2520.102-3(f)
 7
        requires that the SPD accurately disclose “the name, business address and business
 8
        telephone number of the plan administrator as that term is defined by section 3(16)
 9
        of the Act.”
10
              ANSWER: Count IV is brought solely against the ESOP Committee
11
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
12
        to amend this Answer to respond to the allegations contained in Count IV as
13
        required by the Court and/or the Federal Rules of Civil Procedure.
14
              154. The 2017 SPD does not identify the name, address, or telephone
15
        number of the Plan Administrator.
16
              ANSWER: Count IV is brought solely against the ESOP Committee
17
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
18
        to amend this Answer to respond to the allegations contained in Count IV as
19
        required by the Court and/or the Federal Rules of Civil Procedure.
20
              155. ERISA § 102(b), 29 U.S.C. § 1022(b) mandates that an SPD must
21
        contain the “name and address of the person designated as agent for the service of
22
        legal process, if such person is not the administrator.” 29 C.F.R. § 2520.102-3(g)
23
        requires that the SPD identify “[t]he name of the person designated as agent for
24
        service of legal process, and the address at which process may be served on such
25
        person, and in addition, a statement that service of legal process may be made upon
26
        a plan trustee or the plan administrator. While Section 12.4 of the 2017 SPD
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 67
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 68 of 94 Page ID #:4356



 1
        identifies the Company as the agent of service of process, the SPD fails to state
 2
        that service of process may be made on the trustee or plan administrator.
 3
              ANSWER: Count IV is brought solely against the ESOP Committee
 4
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 5
        to amend this Answer to respond to the allegations contained in Count IV as
 6
        required by the Court and/or the Federal Rules of Civil Procedure.
 7
              156. ERISA § 102(b), 29 U.S.C. § 1022(b) mandates that an SPD must
 8
        contain the “names, titles, and addresses of any trustee or trustees (if they are
 9
        persons different from the administrator).” 29 C.F.R. § 2520.102-3(h) requires that
10
        the SPD identify “the name, title and address of the principal place of business of
11
        each trustee” of the Plan.
12
              ANSWER: Count IV is brought solely against the ESOP Committee
13
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
14
        to amend this Answer to respond to the allegations contained in Count IV as
15
        required by the Court and/or the Federal Rules of Civil Procedure.
16
              157. The 2017 SPD identifies Alerus Financial, N.A. as the Trustee in
17
        Section 6.2 but does provide Alerus’s address, or principal place of business.
18
              ANSWER: Count IV is brought solely against the ESOP Committee
19
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
20
        to amend this Answer to respond to the allegations contained in Count IV as
21
        required by the Court and/or the Federal Rules of Civil Procedure.
22
              158. By failing to provide an SPD that provides the information required
23
        by ERISA § 102 and the DOL Regulations and/or by failing to update the SPD
24
        with correct information, the ESOP Committee Defendants, as the Plan
25
        Administrator have violated ERISA § 102, 29 U.S.C. § 1022, ERISA § 104(b)(1),
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 68
28      AMENDED COMPLAINT
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 1
        29 U.S.C. § 1024(b)(1) and ERISA § 404(a)(1)(A) & (B), 29 U.S.C. §
 2
        1104(a)(1)(A) & (B).
 3
              ANSWER: Count IV is brought solely against the ESOP Committee
 4
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 5
        to amend this Answer to respond to the allegations contained in Count IV as
 6
        required by the Court and/or the Federal Rules of Civil Procedure.
 7

 8
                                            COUNT V
 9
         Failure to File Annual Report in violation of ERISA § 104, 29 U.S.C. § 1024
10
             Against the ESOP Committee Defendants as the Plan Administrator
11
              159. Plaintiff incorporates the preceding paragraphs as though set forth
12
        herein.
13
              ANSWER: Count V is brought solely against the ESOP Committee
14
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
15
        to amend this Answer to respond to the allegations contained in Count V as
16
        required by the Court and/or the Federal Rules of Civil Procedure.
17
              160. As the Plan Administrator within the meaning of ERISA § 3(16)(A),
18
        29 U.S.C. § 1002(16)(A), the ESOP Committee Defendants were obligated to
19
        comply with ERISA §§ 104(a) & (b), 29 U.S.C. § 1024(a) & (b).
20
              ANSWER: Count V is brought solely against the ESOP Committee
21
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
22
        to amend this Answer to respond to the allegations contained in Count V as
23
        required by the Court and/or the Federal Rules of Civil Procedure.
24
              161. Pursuant to ERISA § 104(a)(1), 29 U.S.C. § 1024(a)(1), the plan
25
        administrator is required to file with the Secretary of the United States Department
26
        of Labor the annual report (i.e. the Form 5500) within 210 days after the close the
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 69
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 70 of 94 Page ID #:4358



 1
        plan year. Once field, the Secretary of the Department of Labor is required to
 2
        make such annual reports available for inspection to the public.
 3
              ANSWER: Count V is brought solely against the ESOP Committee
 4
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 5
        to amend this Answer to respond to the allegations contained in Count V as
 6
        required by the Court and/or the Federal Rules of Civil Procedure.
 7
              162. Pursuant to ERISA § 104(b)(3), 29 U.S.C. § 1024(b)(3), the plan
 8
        administrator is required to provide a copy of the summary annual report to each
 9
        participant and to each beneficiary receiving benefits under the plan, a copy of the
10
        summary annual report.
11
              ANSWER: Count V is brought solely against the ESOP Committee
12
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
13
        to amend this Answer to respond to the allegations contained in Count V as
14
        required by the Court and/or the Federal Rules of Civil Procedure.
15
              163. The Plan Year for 2018 ended August 31, 2019. As a result, the Form
16
        5500 Annual Report for 2018 was due by February 29, 2020. The Form 5500
17
        Annual Report for 2018 was not filed until July 9, 2020 (i.e. after the original
18
        complaint in this lawsuit was filed).
19
              ANSWER: Count V is brought solely against the ESOP Committee
20
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
21
        to amend this Answer to respond to the allegations contained in Count V as
22
        required by the Court and/or the Federal Rules of Civil Procedure.
23
              164. By failing to file an annual report as required by ERISA § 104, the
24
        ESOP Committee Defendants, as the Plan Administrator violated ERISA § 104(a),
25
        29 U.S.C. § 1024(a).
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 70
28      AMENDED COMPLAINT
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 1
              ANSWER: Count V is brought solely against the ESOP Committee
 2
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 3
        to amend this Answer to respond to the allegations contained in Count V as
 4
        required by the Court and/or the Federal Rules of Civil Procedure.
 5

 6
                                            COUNT VI
 7
        Failure to Provide Documents Upon Request Pursuant to ERISA § 104(b)(4),
 8
          29 U.S.C. § 1024(b)(4) & ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A)
 9
                  Against the ESOP Committee Defendants as Plan Administrator
10
              165. Plaintiff incorporates the preceding paragraphs as though set forth
11
        herein.
12
              ANSWER: Count VI is brought solely against the ESOP Committee
13
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
14
        to amend this Answer to respond to the allegations contained in Count VI as
15
        required by the Court and/or the Federal Rules of Civil Procedure.
16
              166. ERISA § 104(b)(4), 29 U.S.C. § 1024(b)(4), provides that the
17
        administrator of an employee benefit plan “shall, upon written request of any
18
        participant or beneficiary, furnish a copy” of certain enumerated documents as well
19
        as “other instruments under which the plan is established or operated” to the
20
        requesting participant or beneficiary within 30 days of the Request.
21
              ANSWER: Count VI is brought solely against the ESOP Committee
22
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
23
        to amend this Answer to respond to the allegations contained in Count VI as
24
        required by the Court and/or the Federal Rules of Civil Procedure.
25
              167. The Ninth Circuit has also recognized that a fiduciary’s duty under
26
        ERISA § 404(a)(1)(A) to disclose is not limited to those specified in the statute,
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 71
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 72 of 94 Page ID #:4360



 1
        but extends to additional disclosures to the extent that they relate to the provision
 2
        of benefits or the defrayment of expenses.
 3
              ANSWER: Count VI is brought solely against the ESOP Committee
 4
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 5
        to amend this Answer to respond to the allegations contained in Count VI as
 6
        required by the Court and/or the Federal Rules of Civil Procedure.
 7
              168. By a letter dated February 28, 2019, sent by certified mail to the KPC
 8
        ESOP Plan Administrator pursuant to and referencing ERISA § 104(b) and
 9
        404(a)(1), Plaintiff Danielle Gamino requested that the Plan Administrator provide
10
        the documents specified by ERISA 104(b). Among the documents specifically
11
        requested by Ms. Gamino’s letter was any valuation or other document used to
12
        determine the price at which her shares had been allocated and a copy of the most
13
        recent valuation and other documents setting forth how the value of her shares was
14
        determined. Plaintiff’s letter was received at the address in the SPD for KPC by no
15
        later than March 11, 2019.
16
              ANSWER: Count VI is brought solely against the ESOP Committee
17
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
18
        to amend this Answer to respond to the allegations contained in Count VI as
19
        required by the Court and/or the Federal Rules of Civil Procedure.
20
              169. In a letter dated April 18, 2019, Allison Wilkerson, a partner at the
21
        law firm of McDermott Will & Emery in Dallas Texas responded to Plaintiff’s
22
        February 28, 2019 letter. This was the first response to Plaintiff’s ERISA § 104(b)
23
        request, which was sent by Ms. Wilkerson to Ms. Gamino by email on April 18,
24
        2019, 38 days after the February 28, 2019 request was received.
25
              ANSWER: Count VI is brought solely against the ESOP Committee
26
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 72
28      AMENDED COMPLAINT
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 1
        to amend this Answer to respond to the allegations contained in Count VI as
 2
        required by the Court and/or the Federal Rules of Civil Procedure.
 3
              170. Enclosed with April 18, 2019 letter were some of the documents that
 4
        Plaintiff had requested including the 2017 SPD, which was identified as the
 5
        “current summary plan description;” however, Ms. Wilkerson advised that the Plan
 6
        Administrator would not provide copies of the valuations that Ms. Gamino had
 7
        specifically requested.
 8
              ANSWER: Count VI is brought solely against the ESOP Committee
 9
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
10
        to amend this Answer to respond to the allegations contained in Count VI as
11
        required by the Court and/or the Federal Rules of Civil Procedure.
12
              171. In letter dated April 22, 2019, Plaintiff responded to Ms. Wilkerson
13
        and cited authorities in this Circuit and District recognizing that ESOP valuations
14
        must be disclosed in response to a request pursuant to ERISA § 104(b)(4).
15
              ANSWER: Count VI is brought solely against the ESOP Committee
16
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
17
        to amend this Answer to respond to the allegations contained in Count VI as
18
        required by the Court and/or the Federal Rules of Civil Procedure.
19
              172. In a letter dated May 4, 2019, Theodore Becker, “writing on behalf of
20
        the Plan Administrator of the” ESOP responded to Plaintiff’s April 22, 2019 letter
21
        and again refused to produce the valuations.
22
              ANSWER: Count VI is brought solely against the ESOP Committee
23
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
24
        to amend this Answer to respond to the allegations contained in Count VI as
25
        required by the Court and/or the Federal Rules of Civil Procedure.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 73
28      AMENDED COMPLAINT
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 1
              173. By failing to respond to Ms. Gamino’s February 28, 2019 within 30
 2
        days and by failing to provide the requested valuations, the ESOP Committee
 3
        Defendants as the Plan Administrator violated ERISA §§ 104(b) and 404(a)(1)(A),
 4
        29 U.S.C. §§ 1024(b) and 1104(a)(1)(A).
 5
              ANSWER: Count VI is brought solely against the ESOP Committee
 6
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
 7
        to amend this Answer to respond to the allegations contained in Count VI as
 8
        required by the Court and/or the Federal Rules of Civil Procedure.
 9
              174. Pursuant to ERISA § 502(a)(1)(A) a participant may sue for the relief
10
        provided in ERISA § 502(c). Pursuant to ERISA § 502(c), 29 U.S.C. § 1132(c),
11
        “[a]ny administrator . . . who fails or refuses to comply with a request for any
12
        information which such administrator is required by [ERISA] to furnish” by
13
        mailing the requested material to “the requesting participant . . . within 30 days
14
        after such request” may be liable for up to $110 per day in civil penalties. As a
15
        result of the failure to produce the requested documents, the Plan Administrator is
16
        liable for the penalties available under ERISA § 502(c).
17
              ANSWER: Count VI is brought solely against the ESOP Committee
18
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
19
        to amend this Answer to respond to the allegations contained in Count VI as
20
        required by the Court and/or the Federal Rules of Civil Procedure.
21
              175. By breaching their fiduciary duties to Plaintiff Gamino pursuant to
22
        ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A), the Committee Defendants
23
        should be liable via surcharge to the equivalent of the penalty under ERISA §
24
        502(c).
25
              ANSWER: Count VI is brought solely against the ESOP Committee
26
        Defendants; therefore, Alerus is not required to answer. Alerus reserves the right
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 74
28      AMENDED COMPLAINT
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 1
        to amend this Answer to respond to the allegations contained in Count VI as
 2
        required by the Court and/or the Federal Rules of Civil Procedure.
 3

 4
                                             COUNT VII
 5
        Breach of Fiduciary Duty Under ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§
 6
                   1104(a)(1)(A) and (B) Against Director Defendants & KPC
 7
              176. Plaintiff incorporates the preceding paragraphs as though set forth
 8
        herein.
 9
              ANSWER: Count VII is brought solely against the Director Defendants and
10
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
11
        right to amend this Answer to respond to the allegations contained in Count VII as
12
        required by the Court and/or the Federal Rules of Civil Procedure.
13
              177. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan
14
        fiduciary discharge his or her duties with respect to a plan solely in the interest of
15
        the participants and beneficiaries, (A) for the exclusive purpose of providing
16
        benefits to participants and the beneficiaries of the plan, (B) with the care, skill,
17
        prudence, and diligence under the circumstances then prevailing that a prudent
18
        person acting in a like capacity and familiar with such matters would use in the
19
        conduct of an enterprise of a like character and with like aims, and (D) in
20
        accordance with the documents and instruments governing the plan insofar as such
21
        documents and instruments are consistent with ERISA.
22
              ANSWER: Count VII is brought solely against the Director Defendants and
23
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
24
        right to amend this Answer to respond to the allegations contained in Count VII as
25
        required by the Court and/or the Federal Rules of Civil Procedure.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 75
28      AMENDED COMPLAINT
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 1
              178. Under ERISA § 404(a)(1)(A) and (B), a fiduciary with the authority to
 2
        appoint and/or remove other fiduciaries has an obligation to undertake an
 3
        appropriate investigation that the fiduciary is qualified to serve in the position as
 4
        fiduciary and at reasonable intervals to ensure that the fiduciary who has been
 5
        appointed remains qualified to act as fiduciary and is acting in compliance with the
 6
        terms of the Plan and in accordance with ERISA.
 7
              ANSWER: Count VII is brought solely against the Director Defendants and
 8
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
 9
        right to amend this Answer to respond to the allegations contained in Count VII as
10
        required by the Court and/or the Federal Rules of Civil Procedure.
11
              179. According to Section 11.15 of the Plan Document (and consistent
12
        with Section 6.2 of the Trust Agreement), KPC “has the sole authority to appoint
13
        and remove the Trustee.” Pursuant to that authority, KPC had a duty to monitor
14
        the Trustee’s conduct and to take appropriate action if the Trustee was not
15
        adequately protecting the interests of ESOP participants, including removing the
16
        Trustee and correcting any breaches.
17
              ANSWER: Count VII is brought solely against the Director Defendants and
18
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
19
        right to amend this Answer to respond to the allegations contained in Count VII as
20
        required by the Court and/or the Federal Rules of Civil Procedure.
21
              180. According to Section 1.33 of the Plan Document, the members of the
22
        ESOP Committee are appointed by the Board of Directors. Section 9.1 of the Plan
23
        Document provides that KPC “may appoint an ESOP Committee to administer this
24
        Plan.” Section 11.15 of the Plan Document provides that KPC “has the sole
25
        authority to appoint and remove the Trustee.” Pursuant to that authority, KPC
26
        (through the Board of Directors) had a duty to monitor the ESOP Committee’s
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 76
28      AMENDED COMPLAINT
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 1
        conduct and to take appropriate action if the Committee Defendants were not
 2
        adequately protecting the interests of ESOP participants, including removing them
 3
        and correcting any breaches.
 4
              ANSWER: Count VII is brought solely against the Director Defendants and
 5
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
 6
        right to amend this Answer to respond to the allegations contained in Count VII as
 7
        required by the Court and/or the Federal Rules of Civil Procedure.
 8
              181. Defendant KPC knew or in the exercise of reasonable diligence
 9
        should have known that Alerus as Trustee breached its fiduciary duties and
10
        engaged in prohibited transactions as set forth in Counts I, II and III because (a)
11
        Defendant Kali Pradip Chaudhuri was aware of facts sufficient to establish that the
12
        2015 ESOP Transaction constituted a prohibited transaction, including the terms of
13
        the 2015 ESOP Transaction and that the 2015 ESOP Transaction share price did
14
        not reflect fair market value for the stock of KPC, (b) Defendant Kali Pradip
15
        Chaudhuri knew that Alerus caused and closed the 2015 ESOP Transaction and
16
        took no steps to protect the Plan participants or to otherwise remedy the violations
17
        and (c) the knowledge of Defendant Kali Pradip Chaudhuri is imputed to KPC.
18
              ANSWER: Count VII is brought solely against the Director Defendants and
19
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
20
        right to amend this Answer to respond to the allegations contained in Count VII as
21
        required by the Court and/or the Federal Rules of Civil Procedure.
22
              182. Defendants Dr. Chaudhuri, William Thomas, and Kali Priyo
23
        Chaudhuri knew that Alerus had breached its fiduciary duties and engaged in
24
        prohibited transactions because they were officers and directors of KPC at the time
25
        of the 2015 ESOP Transaction and as to Dr. Chaudhuri and Defendant Thomas
26
        were parties to the 2015 ESOP Transaction.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 77
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 78 of 94 Page ID #:4366



 1
              ANSWER: Count VII is brought solely against the Director Defendants and
 2
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
 3
        right to amend this Answer to respond to the allegations contained in Count VII as
 4
        required by the Court and/or the Federal Rules of Civil Procedure.
 5
              183. Defendants Hippert and van Arsdale knew or should have known that
 6
        Alerus had breached its fiduciary duties because once they joined the Board of
 7
        Directors (and thus the ESOP committee) and had responsibility for reviewing the
 8
        performance of Alerus. Had Hippert and van Arsdale conducted an appropriate
 9
        review of the performance of Alerus after the Transaction, including a review of
10
        the post-performance stock price, they would have concluded that an investigation
11
        should have been conducted about or a correction made concerning the 2015 ESOP
12
        Transaction.
13
              ANSWER: Count VII is brought solely against the Director Defendants and
14
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
15
        right to amend this Answer to respond to the allegations contained in Count VII as
16
        required by the Court and/or the Federal Rules of Civil Procedure.
17
              184. The Director Defendants knew that the ESOP Committee breached its
18
        fiduciary duties or other statutory obligations as set forth in Counts IV-VI because
19
        the Director Defendants were all members of the ESOP Committee at the time of
20
        the violations. To the extent that the power to remove the members of the ESOP
21
        Committee belonged to someone at KPC other than the Board of Directors, the
22
        knowledge of the Board of Directors is imputed to KPC.
23
              ANSWER: Count VII is brought solely against the Director Defendants and
24
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
25
        right to amend this Answer to respond to the allegations contained in Count VII as
26
        required by the Court and/or the Federal Rules of Civil Procedure.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 78
28      AMENDED COMPLAINT
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 1
              185. Despite knowing of the facts about these breaches by the ESOP
 2
        Committee, nether KPC nor the Director Defendants took any steps to protect the
 3
        ESOP participants from these breaches and violations, including by stopping or
 4
        delaying the 2015 ESOP Transaction, removing the—or as to the Director
 5
        Defendants, resigning as—members of the ESOP Committee, appointing successor
 6
        members and/or remedying these breaches.
 7
              ANSWER: Count VII is brought solely against the Director Defendants and
 8
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
 9
        right to amend this Answer to respond to the allegations contained in Count VII as
10
        required by the Court and/or the Federal Rules of Civil Procedure.
11
              186. By failing to properly monitor and/or take appropriate action against
12
        the Trustee, KPC and/or the Director Defendants breached their fiduciary duties
13
        under ERISA § 404(a)(1)(A) & (B), 29 U.S.C. § 1104(a)(1)(A) & (B).
14
              ANSWER: Count VII is brought solely against the Director Defendants and
15
        KPC Healthcare; therefore, Alerus is not required to answer. Alerus reserves the
16
        right to amend this Answer to respond to the allegations contained in Count VII as
17
        required by the Court and/or the Federal Rules of Civil Procedure.
18
19
                                          COUNT VIII
20
              Violation of ERISA § 410 & Breach of Fiduciary Under ERISA §§
21
          404(a)(1)(A) and (B), 29 U.S.C. § 1110 & §§ 1104(a)(1)(A) and (B) Against
22
                          KPC, Alerus and the Committee Defendants
23
              187. Plaintiff incorporates the preceding paragraphs as though fully set
24
        forth herein.
25
              ANSWER: Alerus incorporates its answers as though set forth herein.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 79
28      AMENDED COMPLAINT
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 1
              188. ERISA § 410(a), 29 U.S.C. § 1110(a), provides in relevant part (with
 2
        exceptions not applicable here) that “any provision in an agreement or instrument
 3
        which purports to relieve a fiduciary from responsibility or liability for any
 4
        responsibility, obligation, or duty under this part [ERISA Part IV] shall be void as
 5
        against public policy.” As Part IV of ERISA includes ERISA §§ 404, 405, and
 6
        406, 29 U.S.C. §§ 1104, 1105 and 1106, any provision that attempts to relieve a
 7
        fiduciary of liability is void pursuant to ERISA § 410(a), unless there is an
 8
        exception or exemption. No such exception or exemption is applicable here.
 9
              ANSWER: Paragraph 187 purports to paraphrase, quote, and/or cite to
10
        certain ERISA provisions. Alerus relies on those provisions to speak for
11
        themselves, rather than on Plaintiff’s characterizations thereof. Paragraph 187
12
        further states legal conclusions, to which no response is required. To the extent a
13
        response is required, Alerus denies the allegations in paragraph 187.
14
              189. The DOL Regulations promulgated under ERISA § 410, 29 C.F.R. §
15
        2509.75-4, renders “void any arrangement for indemnification of a fiduciary of an
16
        employee benefit plan by the plan” because it would have “the same result as an
17
        exculpatory clause, in that it would, in effect, relieve the fiduciary of responsibility
18
        and liability to the plan by abrogating the plan’s right to recovery from the
19
        fiduciary for breaches of fiduciary obligations.”
20
              ANSWER: Paragraph 189 purports to paraphrase, quote, and/or cite to
21
        certain ERISA provisions and Department of Labor regulations. Alerus relies on
22
        those regulations to speak for themselves, rather than on Plaintiff’s
23
        characterizations thereof. To the extent that characterization is inconsistent with
24
        the cited ERISA provisions and Department of Labor regulations, Alerus denies
25
        the allegations in paragraph 189.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 80
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 81 of 94 Page ID #:4369



 1
              190. For a 100% ESOP-owned company, a provision requiring indemnity
 2
        by the ESOP-owned company is treated as an indemnity provision by the Plan
 3
        because it effectively requires ESOP participants to pay for the costs of the
 4
        breaching fiduciaries’ liability.
 5
              ANSWER: Paragraph 190 states legal conclusions, to which no response is
 6
        required. To the extent a response is required, Alerus denies the allegations in
 7
        paragraph 190.
 8
              191. Section 9.1 of the KPC Healthcare, Inc. Trust effective April 1, 2015
 9
        provides that “the Company shall indemnify the Indemnitees [including the
10
        Trustee] for any Expense (as herein defined) incurred or Loss (as herein defined
11
        suffered by any of the Indemnitees resulting from or incurred with respect to any
12
        Proceedings (as herein defined) related in any way to the performance of services
13
        by any one or more of the Indemnitees pursuant to this Agreement.”
14
              ANSWER: Paragraph 191 purports to paraphrase, quote, and/or cite to
15
        certain Trust provisions. Alerus relies on those provisions to speak for themselves,
16
        rather than on Plaintiff’s characterization thereof. To the extent that such
17
        characterization is inconsistent with the cited Trust provisions, Alerus denies the
18
        allegations in paragraph 191.
19
              192. Section 7.3 of the KPC Healthcare, Inc. Employee Stock Ownership
20
        Plan effective April 1, 2015 provides that KPC “indemnifies and holds harmless
21
        the Plan Administrator (if any) and any person or persons delegated with the
22
        power, duty, and responsibility to act on behalf of the Plan Administrator, from
23
        and against any and all loss resulting from liability to which the Plan Administrator
24
        or any person or persons delegated with the power, duty, and responsibility to act
25
        on behalf of the Plan Administrator, may be subjected by any reason of any act or
26
        conduct (except willful misconduct or gross negligence) associated with such
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 81
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 82 of 94 Page ID #:4370



 1
        persons’ official capacities in the administration of this Plan, including all court
 2
        costs and other expenses reasonably incurred in connection with the defense of
 3
        such persons..”
 4
              ANSWER: Paragraph 192 purports to paraphrase, quote, and/or cite to
 5
        certain Plan provisions. Alerus relies on those provisions to speak for themselves,
 6
        rather than on Plaintiff’s characterization thereof. To the extent that such
 7
        characterization is inconsistent with the Plan provisions, Alerus denies the
 8
        allegations in paragraph 192.
 9
              193. As these instruments governing the relationship between either the
10
        Trustee or the Plan Administrator and KPC attempt to relieve the Trustee and the
11
        Plan Administrator (or the members of the Committee) of his, her or its
12
        responsibility or liability to discharge his or her fiduciary duties or to have KPC
13
        (an ESOP-owned company) and thereby the ESOP be responsible for his or her
14
        liability or breaches, such agreements or other instruments are void as against
15
        public policy.
16
              ANSWER: Alerus denies the allegations in paragraph 193.
17
              194. To the extent that Defendants would agree to such a provision that is
18
        void against public policy under ERISA § 410, Defendants breached their fiduciary
19
        duties under ERISA by failing to discharge their duties with respect to the Plan
20
        solely in the interest of the participants and beneficiaries (A) for the exclusive
21
        purpose of providing benefits to participants and beneficiaries and (B) with the
22
        care, skill, prudence and diligence under the circumstances then prevailing that a
23
        prudent person acting in a like capacity and familiar with such matters would use
24
        in the conduct of an enterprise of like character and aims, in violation of ERISA §
25
        404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B).
26
              ANSWER: Alerus denies the allegations in paragraph 194.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 82
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 83 of 94 Page ID #:4371



 1
               195. As such these indemnification provisions in these instruments (or any
 2
        similar agreements) governing the relationship between Defendants and KPC
 3
        should be declared void ab initio and should be reformed to strike or modified
 4
        accordingly.
 5
               ANSWER: Alerus denies the allegations in paragraph 195.
 6
               196. As a result, Alerus and the Committee Defendants should be ordered
 7
        to disgorge any indemnification payments made by KPC and/or the ESOP, plus
 8
        interest.
 9
               ANSWER: Alerus denies the allegations in paragraph 196.
10

11                                        COUNT IX
12      Co-Fiduciary Liability Pursuant to ERISA § 405, 29 U.S.C. § 1105 Against the
        Committee Defendants, Director Defendants, Kali Pradip Chaudhuri, Alerus,
13                                  and William Thomas
14           197. Plaintiff incorporates the preceding paragraphs as though fully set

15      forth herein.

16             ANSWER: Alerus incorporates its answers as though set forth herein.

17             198. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for

18      another fiduciary of the same plan’s breach when (1) “he participates knowingly
19      in, or knowingly undertakes to conceal, an act or omission of such other fiduciary,
20      knowing such act or omission of such other fiduciary is a breach;” (2) “by his
21      failure to comply with section 404(a)(1) in the administration of his specific
22      responsibilities which give rise to his status as a fiduciary, he has enabled such
23      other fiduciary to commit a breach;” or (3) “he has knowledge of a breach by such
24      other fiduciary, unless he makes reasonable efforts under the circumstances to
25      remedy the breach.”
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 83
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 84 of 94 Page ID #:4372



 1
              ANSWER: Paragraph 198 purports to paraphrase and/or cite to certain
 2
        ERISA provisions. Alerus relies on those provisions to speak for themselves,
 3
        rather than on Plaintiff’s characterizations thereof. Paragraph 198 further states
 4
        legal conclusions, to which no response is required. To the extent a response is
 5
        required, Alerus denies the allegations in paragraph 198.
 6            199. The Committee Defendants violated ERISA § 405(a)(1)-(3) when
 7      they knowingly participated in each other’s violations when they acted as a
 8      Committee because (1) they each participated knowingly in the actions taken as a
 9      Committee and knew or were reckless in not knowing it was a breach, (2) failed to
10      fulfill their duties as members of the Committee set forth in the Plan Document
11      and (3) had knowledge of those breaches and made no apparent efforts to remedy
12      the breach. As such, each of the Committee Defendants is liable for the breaches of
13      the other members of the committee pursuant to ERISA § 405(a)(1)-(3).
14
              ANSWER: Paragraph 199 purports to paraphrase and/or cite to certain
15
        ERISA provisions. Alerus relies on those provisions to speak for themselves,
16
        rather than on Plaintiff’s characterizations thereof. Paragraph 199 further states
17
        legal conclusions, to which no response is required. To the extent a response is
18
        required, Alerus denies the allegations in paragraph 199.
19            200. The Director Defendants violated ERISA § 405(a)(1) and (3) when
20      they knowingly participated in each other’s violations when they acted as a board
21      because they each participated knowingly in the actions taken as a board, knew or
22      were reckless in not knowing it was a breach, and had knowledge of those breaches
23      and made no apparent efforts to remedy the breach. As such, each of the Director
24      Defendants is liable for the breaches of the other members of the committee
25      pursuant to ERISA § 405(a)(1), (3).
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 84
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 85 of 94 Page ID #:4373



 1            ANSWER: Paragraph 200 purports to paraphrase and/or cite to certain
 2      ERISA provisions. Alerus relies on those provisions to speak for themselves,
 3      rather than on Plaintiff’s characterizations thereof. Paragraph 200 further states
 4      legal conclusions, to which no response is required. To the extent a response is
 5      required, Alerus denies the allegations in paragraph 200.
 6            201. Defendants Kali Pradip Chaudhuri, Alerus, and William Thomas
 7      violated ERISA § 405(a)(1) and (3) when they knowingly participated in each
 8      other’s respective prohibited transactions because they each participated
 9      knowingly in the respective prohibited transactions, had knowledge of those
10      breaches, and made no apparent efforts to remedy the breaches. As such, each of
11      them is liable for the breaches of the others as to each of those transactions
12      pursuant to ERISA § 405(a)(1) and (3).
13            ANSWER: Paragraph 201 purports to paraphrase and/or cite to certain
14      ERISA provisions. Alerus relies on those provisions to speak for themselves,
15      rather than on Plaintiff’s characterizations thereof. Paragraph 201 further states
16      legal conclusions, to which no response is required. To the extent a response is
17      required, Alerus denies the allegations in paragraph 201.
18
19
                                  ENTITLEMENT TO RELIEF
20
              202. By virtue of the violations set forth in the foregoing paragraphs,
21
        Plaintiff and the Class are entitled to sue each of the Defendants who are
22
        fiduciaries pursuant to ERISA §502(a)(2), 29 U.S.C. § 1132(a)(2), for relief on
23
        behalf of the Plan as provided in ERISA § 409, 29 U.S.C. § 1109, including for
24
        recovery of any losses to the Plan, the recovery of any profits resulting from the
25
        breaches of fiduciary duty, and such other equitable or remedial relief as the Court
26
        may deem appropriate.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 85
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 86 of 94 Page ID #:4374



 1
              ANSWER: Alerus denies the allegations in paragraph 202.
 2
              203. By virtue of the violations set forth in the foregoing paragraphs,
 3
        Plaintiff and the Class are entitled pursuant to ERISA § 502(a)(3), 29 U.S.C. §
 4
        1132(a)(3), to sue any of the Defendants for any appropriate equitable relief to
 5
        redress the wrongs described above.
 6
              ANSWER: Alerus denies the allegations in paragraph 203.
 7

 8
                                      PRAYER FOR RELIEF
 9
              Wherefore, Plaintiff on behalf of herself and the Class, pray that judgment
10
        be entered against Defendants on each claim and be awarded the following relief:
11
              A.     Declare that Defendants have each breached their fiduciary duties
12
        under ERISA;
13
              B.     Declare that Defendants Alerus and Defendant Kali Pradip Chaudhuri
14
        have each engaged in prohibited transactions in violation of ERISA §§ 406(a)-(b),
15
        29 U.S.C. §§ 1106(a)-(b), by causing the ESOP to engage in 2015 Transaction;
16
              C.     Enjoin Defendants, and each of them, from further violations of their
17
        fiduciary responsibilities, obligations and duties;
18
              D.     Remove each of the Defendants as fiduciaries of the ESOP and/or bar
19
        each of them from serving as fiduciaries of the ESOP in the future, and appoint a
20
        new independent fiduciary to manage the ESOP and order the costs of such
21
        independent fiduciary be paid for by Defendants;
22
              E.     Order that Defendants found to have breached his/her/its fiduciary
23
        duties to the ESOP to jointly and severally restore all the losses resulting from their
24
        breaches or by virtue of liability pursuant to ERISA § 405and disgorge all profits
25
        they have made through use of assets of the ESOP;
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 86
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 87 of 94 Page ID #:4375



 1
               F.     Order that Defendants provide other appropriate equitable relief to the
 2
        ESOP, including but not limited to, by forfeiting their ESOP accounts, providing
 3
        an accounting for profits, imposing a constructive trust and/or equitable lien on any
 4
        funds wrongfully held by any of the Defendants;
 5
               G.     Order pursuant to ERISA § 206(d)(4) that any amount to be paid to
 6
        the ESOP accounts of the Class can be satisfied by using or transferring any
 7
        breaching fiduciary’s ESOP account in the Plan (or the proceeds of that account) to
 8
        the extent of that fiduciary’s liability.
 9
               H.     Order the Plan Administrator to provide a Summary Plan Description
10
        that complies with ERISA § 102, 29 U.S.C. § 1022 and to file an Annual Report
11
        pursuant to ERISA § 104, 29 U.S.C. § 104.
12
               I.     Award Plaintiff Gamino statutory penalties in the amount of $110 per
13
        day, per violation, for the failure to provide each of the requested documents that
14
        the Plan Administrator failed to provide or to the extent appropriate a surcharge
15
        against the Committee Defendants in an equivalent amount.
16
               J.     Declare that any indemnification agreement between the Defendants,
17
        or any of them, and KPC or the ESOP violates ERISA § 410, 29 U.S.C. § 1110,
18
        and is therefore null and void.
19
               K.     Order Defendants to reimburse the ESOP or KPC for any money
20
        advanced by the ESOP or KPC, respectively, under any indemnification agreement
21
        or other instrument between Defendants and the ESOP or KPC;
22
               L.     Require Defendants to pay attorneys’ fees and costs pursuant to
23
        ERISA § 502(g), 29 U.S.C. § 1132(g), and/or ordering payment of fees and
24
        expenses to Plaintiff’s counsel on the basis of the common benefit or common fund
25
        doctrine out of any money recovered for the Class;
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 87
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 88 of 94 Page ID #:4376



 1
              M.     Order Alerus to disgorge any fees they received in conjunction with
 2
        the 2015 ESOP Transaction;
 3
              N.     Order that Defendants and each of them provide other appropriate
 4
        equitable relief to the Plan, including but not limited to rescission, surcharge,
 5
        providing an accounting for profits, and imposing a constructive trust and/or
 6
        equitable lien on any funds wrongfully held by Defendants;
 7
              O.     Award pre-judgment interest and post-judgment interest; and
 8
              P.     Award such other and further relief that the Court determines that
 9
        Plaintiff and the Class are entitled to pursuant to ERISA § 502(a), 29 U.S.C. §
10
        1132(a) or pursuant to Rule 54(c) of the Federal Rules of Civil Procedure or that is
11
        equitable and just.
12
              ANSWER: Alerus denies that Plaintiff is entitled to any of the relief
13
        requested or to any relief whatsoever.
14

15
                               ALERUS’S AFFIRMATIVE DEFENSES
16
        FIRST AFFIRMATIVE DEFENSE: Exemption from Prohibited Transaction.
17
              1.     Plaintiff’s prohibited transaction claims fails in whole or in part
18
        because the prohibited transaction rules in ERISA § 406 do not apply to the August
19
        28, 2015 stock purchase transaction. The transaction satisfies the exemptions set
20
        forth in ERISA § 408(e) and/or § 408(b). The Plan paid no more than adequate
21
        consideration and fair market value for Company stock, which Alerus determined
22
        in good faith following a prudent investigation prior to approving the transaction.
23
        The amount of compensation paid to Alerus for its services in connection with the
24
        transaction was reasonable, satisfying the exemptions set forth in ERISA § 408(b)
25
        and/or ERISA § 408(c).
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 88
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 89 of 94 Page ID #:4377



 1
              2.      The transaction satisfies the exemptions set forth in ERISA § 408(e)
 2
        and/or § 408(b)(12)(A). Those exemptions provide, in relevant, as follows:
 3
                   a. ERISA § 408(e) provides that the prohibitions in § 406(a) shall not
 4
                      apply to “the acquisition or sale by a plan of qualifying employer
 5
                      securities . . . if such acquisition, sale, or lease is for adequate
 6
                      consideration . . . (2) if no commission is charged with respect thereto,
 7
                      and (3) if—(A) the plan is an eligible individual account plan,” which
 8
                      includes employee stock ownership plans. ERISA § 3(18)(B) defines
 9
                      adequate consideration as “the fair market value of the asset as
10
                      determined in good faith by the trustee or named fiduciary.” See also
11
                      Proposed Regulation Relating to the Definition of Adequate
12
                      Consideration, 53 Fed. Reg. 17632-01 (May 17, 1988) (to be codified
13
                      at 29 C.F.R. pt. 2510).
14
        ERISA § 408(b)(12)(A) provides that the prohibitions in § 406(a) shall not apply to
15
        the “sale by a plan to a party in interest Alerus denies the remaining allegations in
16
        paragraph 14.
17
                   b. requirements of paragraphs (1) and (2) of subsection (e) of this
18
                      section are met with respect to such stock, (B) on the later of the date
19
                      on which the stock was acquired by the plan, or January 1, 1975, such
20
                      stock constituted a qualifying employer security . . . and (C) such
21
                      stock does not constitute a qualifying employer security . . . .”
22
                   c. ERISA § 408(b)(3) provides an exemption for a loan to an employee
23
                      stock ownership plan if the loan is primarily for the benefit of
24
                      participants and beneficiaries of the plan and such loan is at an interest
25
                      rate which is not in excess of a reasonable rate, and ERISA §
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 89
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 90 of 94 Page ID #:4378



 1
                      408(b)(3) allows a plan to give collateral if such collateral are
 2
                      qualifying employer securities.
 3
              3.      Prior to approving the transaction, Alerus conducted a prudent
 4
        investigation of the Company stock that was offered for sale.
 5
              4.      Following this prudent investigation, Alerus determined in good faith
 6
        that the price of the Company stock was no more than adequate consideration and
 7
        fair market value.
 8
              5.      The amount of compensation paid to Alerus for its services in
 9
        connection with the transaction satisfies the exemptions set forth in ERISA §
10
        408(b) and/or ERISA § 408(c). Those exemptions provide, in relevant part, as
11
        follows:
12
                   a. ERISA § 408(b)(2) provides that the prohibitions in § 406(b) shall not
13
                      apply to, “Contracting or making reasonable arrangements with a
14
                      party in interest for office space, or legal, accounting, or other services
15
                      necessary for the establishment or operation of the plan, if no more
16
                      than reasonable compensation is paid therefor.”
17
                   b. ERISA § 408(c)(2) provides that nothing in ERISA § 406(b) shall
18
                      prohibit any fiduciary from “receiving any reasonable compensation
19
                      for services rendered, or for the reimbursement of expenses properly
20
                      and actually incurred, in the performance of his duties with the plan.”
21
                      Courts have held that ERISA § 408(c)(2) applies to prohibited
22
                      transactions under § 406(b) and insulates a fiduciary alleged to have
23
                      influenced its own compensation from liability if the compensation
24
                      paid was reasonable.
25
              6.      The amount of compensation paid to Alerus was reasonable.
26

27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 90
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 91 of 94 Page ID #:4379



 1
               7.     Alerus also reserves its right to argue the applicability of other
 2
        exemptions in response to claims or positions Plaintiff takes in this litigation.
 3
        SECOND AFFIRMATIVE DEFENSE: Lack of Intent.
 4
               8.     ERISA § 406(a)(1)(D) prohibits transactions between a plan and a
 5
        party in interest that constitute a direct or indirect “transfer to, or use by or for the
 6
        benefit of a party in interest, of any assets of the plan.”
 7
               9.     Courts have held that a prohibited use of plan assets for the benefit of
 8
        a party in interest, as described by ERISA § 406(a)(1)(D), requires a “subjective
 9
        intent to benefit” a party in interest.
10
               10.    Plaintiff has not alleged and cannot establish that Alerus had any
11
        “subjective intent to benefit” any party in interest.
12
        THIRD AFFIRMATIVE DEFENSE: Waiver/ Estoppel
13
               11.    Plaintiff’s claims are barred in whole or in part based on her
14
        acceptance of her benefits.
15
        FOURTH AFFIRMATIVE DEFENSE: Standing.
16
               12.    Plaintiff’s claims are barred in whole or in part because neither
17
        Plaintiff, any other participant or beneficiary, nor the Plan suffered damages and
18
        Plaintiff lacks standing to bring claims.
19
        FIFTH AFFIRMATIVE DEFENSE: Damages Caused by Other Parties
20
               13.    Plaintiff’s alleged damages, if any, were caused by other parties over
21
        whom Alerus had no control and for whom Alerus had no responsibility.
22

23
                                  RESERVATION OF DEFENSES
24
               Alerus reserves the right to assert additional affirmative defenses as they
25
        may become evident during the course of discovery or during further investigation
26
        into the background of this matter.
27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 91
28      AMENDED COMPLAINT
     Case 5:20-cv-01126-SB-SHK Document 211 Filed 11/15/21 Page 92 of 94 Page ID #:4380



 1

 2
         Dated: November 15, 2021              /s/ Lars C. Golumbic______
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19

20

21

22

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27
        ALERUS’S ANSWER TO PLAINTIFF’S FIRST – 92
28      AMENDED COMPLAINT
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 1

 2

 3
                                   CERTIFICATE OF SERVICE
 4
              I certify that on November 15, 2021, I caused the foregoing DEFENDANT
 5
        ALERUS FINANCIAL, N.A.’S ANSWER TO PLAINTIFF’S FIRST AMENDED
 6
        COMPLAINT to be filed with the Court’s electronic filing system, by operation of
 7
        which it was served on all counsel of record.
 8

 9
        Dated: November, 15 2021                        /s/ Lars C. Golumbic_________
10
                                                        Lars C. Golumbic, admitted pro hac
11                                                      vice
12

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28      AMENDED COMPLAINT
